                         Nos. 25-1169, 25-1170

              UNITED STATES COURT OF APPEALS
                   FOR THE FIRST CIRCUIT
                           _______________________________


         O. DOE; BRAZILIAN WORKER CENTER; LA COLABORATIVA,
                            Plaintiffs-Appellees,
                                      v.
  DONALD J. TRUMP, in his official capacity as President of the United
States; U.S. DEPARTMENT OF STATE; MARCO RUBIO, in his official capacity
as Secretary of State; U.S. SOCIAL SECURITY ADMINISTRATION; MICHELLE
    KING, in her official capacity as Commissioner of Social Security,
                           Defendants-Appellants.
                           _______________________________


  STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS; STATE OF
    CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
  DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAI‘I; STATE OF MAINE;
 STATE OF MARYLAND; ATTORNEY GENERAL DANA NESSEL, on behalf of the
  People of Michigan; STATE OF MINNESOTA; STATE OF NEVADA; STATE OF
 NEW MEXICO; STATE OF NEW YORK; STATE OF NORTH CAROLINA; STATE OF
    RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN; CITY AND
                          COUNTY OF SAN FRANCISCO,
                             Plaintiffs-Appellees,
                                       v.
   DONALD J. TRUMP, in his official capacity as President of the United
States; U.S. DEPARTMENT OF STATE; MARCO RUBIO, in his official capacity
 as Secretary of State; U.S. DEPARTMENT OF HOMELAND SECURITY; KRISTI
  NOEM, in her official capacity as Secretary of Homeland Security; U.S.
 DEPARTMENT OF HEALTH AND HUMAN SERVICES; ROBERT F. KENNEDY, JR.,
 in his official capacity as Secretary of Health and Human Services; U.S.
SOCIAL SECURITY ADMINISTRATION; MICHELLE KING, in her official capacity
     as Commissioner of Social Security; UNITED STATES OF AMERICA,
                            Defendants-Appellants.
                           _______________________________


  Appeal from the U.S. District Court for the District of Massachusetts
                           _______________________________


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                           INTRODUCTION

     In the wake of the Civil War, our Nation adopted the Fourteenth

Amendment’s Citizenship Clause to remove the question of American cit-

izenship from changing political winds. The Citizenship Clause confirms

that everyone born in the United States and “subject to the jurisdiction

thereof” would be citizens of the United States and of the State in which

they reside. U.S. Const. amend. XIV. The Clause built on a longstanding

tradition from English and American common law, known as jus soli, that

ensured birthright citizenship to all those born in the sovereign’s terri-

tory and subject to its legal authority. The Supreme Court held 127 years

ago that the Citizenship Clause indeed enshrined birthright citizenship

into our constitutional order, United States v. Wong Kim Ark, 169 U.S.

649 (1898), and more than a century of judicial opinions, executive prac-

tice, and Congressional statutes are in accord. And that command went

unchallenged in the years since—until January 20, 2025, when the Pres-

ident sought to eliminate the citizenship of babies born to undocumented

parents and those with temporary legal status with the stroke of a pen.

     While not every appeal at this Court involves binding and on point

Supreme Court precedent, this one does. In Wong Kim Ark, the Supreme



                                    1
Court reviewed the text and history of the Citizenship Clause and held

that the decision to limit citizenship to those “subject to the jurisdiction”

of the United States mirrored the jus soli common-law rule: namely, that

individuals subject to a country’s regulatory authority would be born as

citizens, but that citizenship would not apply to two established classes—

“children born of alien enemies in hostile occupation, and children of dip-

lomatic representatives of a foreign state.” Id. at 682. Wong Kim Ark

added that the Clause allowed for only one other exception to birthright

citizenship: the children of tribal members. Id. at 682, 693. Wong Kim

Ark made clear that no other exceptions exist. And the children of immi-

grants, regardless of the either unlawful or temporary status of their par-

ents, would certainly not qualify: these American-born babies are subject

to the full legal authority of the United States, and are thus subject to its

jurisdiction. Nor does this right come from the Constitution alone—in

the years after Wong Kim Ark, Congress codified this understanding of

birthright citizenship into the U.S. Code. See 8 U.S.C. § 1401(a).

     Appellants’ challenge thus fails. The States have standing to pur-

sue their action, because the Order imposes significant pocketbook inju-

ries and sovereign harms on them, and because the States are free to seek



                                     2
redress for those injuries based on the argument that the Order violates

the Citizenship Clause. The Order is unconstitutional, violating the Cit-

izenship Clause and the Immigration and Nationality Act (INA). The

equitable factors support the preliminary injunction, which maintains a

centuries-old status quo and avoids enormous and unprecedented irrep-

arable harms. And, as a panel of this Court already concluded at the stay

stage, the court below did not abuse its discretion in granting a nation-

wide remedy to the States—especially as Appellants never raised to the

district court the alternative remedies they now press to this Court. This

Court should affirm.

                   STATEMENT OF THE ISSUES

     The issues presented in No. 25-1170, New Jersey v. Trump., are:

     1.    Whether the district court properly determined that Plaintiffs

have standing to challenge the Executive Order.

     2.    Whether the district court properly determined that the Ex-

ecutive Order likely violates the Fourteenth Amendment and the INA.

     3.    Whether the district court abused its discretion in crafting a

nationwide preliminary injunction to remedy the States’ harms.




                                    3
                     STATEMENT OF THE CASE

I.   Legal Background

     A.    The Supreme Court settles the meaning of the Citizen-
           ship Clause over 127 years ago.

     The Fourteenth Amendment guarantees that “[a]ll persons born …

in the United States, and subject to the jurisdiction thereof, are citizens

of the United States.” U.S. Const. amend. XIV, § 1. Over a century ago,

in United States v. Wong Kim Ark, 169 U.S. 649 (1898), the Supreme

Court settled the meaning of “subject to the jurisdiction thereof” in a thor-

ough opinion based on the text and history of the Citizenship Clause and

deeply rooted common-law tradition. That interpretation has remained

authoritative in the years since.

     In Wong Kim Ark, the petitioner had been born in San Francisco to

Chinese nationals and was “a laborer by occupation.” Id. at 650. Upon

returning from a visit to China, he was detained at the port of San Fran-

cisco on the ground that he was “a Chinese person, and a subject of the

emperor of China.” Id. at 650. Pursuant to the Chinese Exclusion Acts

then in effect, Chinese laborers could not enter the United States, and

those already present could not naturalize. See Fong Yue Ting v. United

States, 149 U.S. 698, 717–26 (1893). Wong Kim Ark sought a writ of


                                     4
habeas corpus, countering “that he was a native-born citizen of the

United States,” and thus entitled to reenter. 169 U.S. at 653.

      The Supreme Court agreed. Id. at 705. It began its constitutional

analysis by looking to English common law, “the principles and history

of which were familiarly known to the framers of the constitution.” Id.

at 654. “By the common law of England, every person born within the

dominions of the crown, no matter whether of English or of foreign par-

ents, and, in the latter case, whether the parents were settled, or merely

temporarily sojourning, in the country, was an English subject.” Id. at

657. This rule of citizenship by country of birth was referred to as jus

soli. Id. at 667; James C. Ho, Defining “American”: Birthright Citizenship

and the Original Understanding of the 14th Amendment, 9 Green Bag 2d

367, 369 n.15 (2006) (agreeing jus soli was “embraced in early American

jurisprudence”); Michael Ramsey, Originalism & Birthright Citizenship,

109 Geo. L.J. 405, 413 (2020) (same). Pursuant to jus soli, citizenship

flows from “birth within the allegiance—also called ‘ligealty,’ ‘obedience,’

‘faith,’ or ‘power’—of the king.” Wong Kim Ark, 169 U.S. at 655. As the

Supreme Court explained, allegiance did not require “an oath,” and was

“distinct from … domicile.” Id. at 656. It encompassed everyone within



                                     5
the “power, or as would be said at this day, within the jurisdiction, of the

king.” Id. at 656.

     Although nearly everyone born within the sovereign’s territory was

thus born within the sovereign’s “allegiance,” that is, within his power or

jurisdiction, English common law recognized two exceptions: (1) children

“of an ambassador or other diplomatic agent of a foreign state,” and (2)

children “of an alien enemy in hostile occupation of the place where the

child was born.” Id. at 657–58. In both cases, such children were consid-

ered not born under the sovereign’s jurisdiction, and thus not fully sub-

ject to U.S. laws, because they were under the sovereign domain of a for-

eign nation operating on U.S. soil.

     After elucidating the jus soli principle as it existed at English com-

mon law, the Wong Kim Ark Court meticulously examined American

common-law practice and tradition, and confirmed that the jus soli “rule

was in force in all the English colonies upon this continent down to the

time of the Declaration of Independence, and in the United States after-

wards, and continued to prevail under the constitution as originally es-

tablished.” Id. at 658. As the Court explained, the only change was the

substitution of the term “citizen” for the common-law term “subject,” and



                                      6
the transfer of sovereignty “from the man to the collective body of the

people,” such that “he who before was a ‘subject of the king’ is now ‘a

citizen of the state.’” Id. at 664 (quotation omitted).

     Having determined that the American law on citizenship leading

up to Reconstruction followed its English common-law roots, the Court

examined whether the Civil Rights Act of 1866 or the Fourteenth Amend-

ment had effected any changes. It determined they had not. Rather, “the

fundamental principle of citizenship by birth within the dominion was

reaffirmed in the most explicit and comprehensive terms.” Id. at 675.

Carefully examining the text and history of the Fourteenth Amendment,

the Court held that the framers’ “real object … in qualifying the words

‘all persons born in the United States’ by the addition ‘and subject to the

jurisdiction thereof,’” was to mirror the jus soli rule, that is, to broadly

grant citizenship to everyone “born in the United States,” excepting those

“two classes of cases” well-established as exceptions under English com-

mon law: “children born of alien enemies in hostile occupation, and chil-

dren of diplomatic representatives of a foreign state.” Id. at 682.

     The Court acknowledged one “single additional” class, “unknown to

the common law,” that the Citizenship Clause’s qualifier also removed



                                     7
from the birthright citizenship guarantee: “children of members of the

Indian tribes.” Id. at 682, 693. The Court characterized the tribes’ “pe-

culiar relation to the national government” as “anomalous,” and acknowl-

edged that it had previously held that the children of tribal members,

“although in a geographical sense born in the United States, are no more

‘born in the United States, and subject to the jurisdiction thereof,’ within

the meaning of the … fourteenth amendment, than the children of sub-

jects of any foreign government born within the domain of that govern-

ment.” Id. at 681–83 (quoting Elk v. Wilkins, 112 U.S. 94, 99–103 (1884)).

But the Court was clear that Elk had no bearing on the citizenship of

“children born in the United States of foreign parents.” Id. at 682.1

     From this exhaustive review, the Court concluded that “[t]he four-

teenth amendment affirms” jus soli, “the ancient and fundamental rule

of citizenship by birth within the territory,” exempting only those unique

classes of individuals who would not be subject to U.S. jurisdiction,

though present within its borders: the children of foreign diplomats, the




  1 In 1924, Congress extended birthright citizenship to Native Ameri-

can tribal members via statute. See Indian Citizenship Act of 1924, ch.
233, 43 Stat. 253; 8 U.S.C. § 1401(b). They retain that right today.

                                     8
children of alien enemies during a hostile occupation, and the children of

Native American tribal members. Id. at 693.

     As to Wong Kim Ark, the Court held that he fit none of these excep-

tions. Id. at 705. Rather, because his parents were living in San Fran-

cisco at the time of his birth, they then “owe[d] allegiance to the United

States” and were “subject to the jurisdiction thereof,” despite “remaining

subjects of the emperor of China.” Id. at 694. Wong Kim Ark was a birth-

right citizen—and regardless of “[w]hatever considerations” had led the

political branches “to decline to admit persons of the Chinese race to the

status of citizens,” none could overcome “the peremptory and explicit lan-

guage of the fourteenth amendment.” Id. at 694, 705.

     B.    Congress codifies, and subsequent decisions reaffirm,
           this settled understanding of birthright citizenship.

     Wong Kim Ark has remained the authoritative exposition of the Cit-

izenship Clause since it was decided. Thus, when Congress codified the

language of the Citizenship Clause in 1940, see Nationality Act of 1940,

ch. 876, § 201, 54 Stat. 1137, 1138, it baked into the U.S. Code Wong Kim

Ark’s longstanding interpretation. That statutory guarantee remains the

law today. See 8 U.S.C. § 1401(a) (providing that “a person born in the




                                    9
United States, and subject to the jurisdiction thereof” is a “citizen[] of the

United States at birth”).

     Consistent with Wong Kim Ark’s affirmation of jus soli and Con-

gress’s codification of this principle, the Supreme Court and this Court

have both repeatedly agreed that persons born here are citizens regard-

less of the lawfulness or length of their parents’ presence in the United

States. See, e.g., United States ex rel. Hintopoulos v. Shaughnessy, 353

U.S. 72, 73 (1957) (petitioners’ child was “of course[] an American citizen

by birth” even though parents had been admitted on a temporary basis

and overstayed); INS v. Errico, 385 U.S. 214, 215–16 (1966) (noting peti-

tioners, who entered U.S. with visas fraudulently obtained, gave birth to

children the Court recognized as “United States citizens[] at birth”); INS

v. Rios-Pineda, 471 U.S. 444, 446 (1985) (child of undocumented parent

“was a citizen of this country” by virtue of being “born in the United

States”); Hamdi v. Rumsfeld, 542 U.S. 507, 510 (2004) (finding detainee

entitled to due process as a citizen despite amicus arguing that he was

not a citizen because his parents were on temporary visas); Mariko v.

Holder, 632 F.3d 1, 3, 8 n.4 (1st Cir. 2011) (stating U.S.-born child of par-

ents who “were here illegally” is a citizen, and citing Wong Kim Ark);



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Hasan v. Holder, 673 F.3d 26, 28 & n.1 (1st Cir. 2012) (same); see also

Plyer v. Doe, 457 U.S. 202, 211 n.10 (1982) (undocumented immigrants

are subject to U.S. jurisdiction).

     Executive understanding and practice have long been in accord.

See JA119 (Defendants’ counsel conceding that “at least back to World

War II, if not earlier,” Executive Branch recognized citizenship of U.S.-

born children, even if their parents are undocumented or have temporary

status). Federal agencies therefore have long accepted proof of birth in

the United States as proof of citizenship. 2 The Social Security Admin-

istration (SSA), for example, has done so since 1979—when the agency

first promulgated rules for proving identity, age, and citizenship or im-

migration status for the purpose of assigning Social Security numbers

(SSNs).    44 Fed. Reg. 10369, 10371 (Feb. 20, 1979); 20 C.F.R. §

422.107(d); 20 C.F.R. § 422.103(c)(2). And the Department of Justice’s

Office of Legal Counsel previously opined that a congressional proposal


  2 This evidentiary rule makes sense.     Given Native American tribal
members’ statutory entitlement to birthright citizenship, see 8 U.S.C.
§ 1401(b), and the fact that the U.S. has not experienced a hostile occu-
pation since the War of 1812, the only “live” exception to the default rule
that birth on U.S. soil confers U.S. citizenship is for the U.S.-born chil-
dren of recognized foreign diplomats, see 22 U.S.C. §§ 254a–254e, an ex-
ceedingly small class.

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to deny American citizenship “to children born in the United States to

parents who are not citizens or permanent resident aliens” was “unques-

tionably unconstitutional.” Legislation Denying Citizenship at Birth to

Certain Children Born in the United States, 19 Op. O.L.C. 340, 1995 WL

1767990, at *2 (1995) (“OLC Op.”).

II.   Factual Background

      A.   The President signs the Order, which purports to deny
           citizenship to children born in the United States.

      Hours after his inauguration, President Trump issued Executive

Order No. 14,160 (Order). See Defendants’ Add. 1. Section 1 of the Order

declares that birthright citizenship does not extend to a child born in the

United States if, at the time of the child’s birth, (1) the child’s mother was

present in the United States “unlawfully” or “lawful[ly] but tempo-

rar[ily],” and (2) the child’s “father was not a United States citizen or

lawful permanent resident” (“Covered Children”). Defendants’ Add. 1.

      Although Section 1 calls into question the citizenship of every indi-

vidual born in the United States under such circumstances, the Order

does not itself direct any immediate action as to anyone born before Feb-

ruary 19, 2025. However, as to children born after February 19, 2025,

Section 2 mandates that no federal official “shall issue documents


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recognizing United States citizenship, or accept documents issued by

State, local, or other governments … purporting to recognize United

States citizenship,” to children in the categories described in Section 1.

Defendants’ Add. 1. And Section 3 directs various federal agencies and

officials—including Defendants—to “ensure that the regulations and pol-

icies of their respective departments and agencies are consistent with

this order” and to issue public guidance regarding implementation of the

Order within 30 days. Defendants’ Add. 2.

     B.    The Order, if implemented, will cause direct and imme-
           diate injuries to Plaintiffs.

     The Order will deny a fundamental right—citizenship—to millions

of people across the Nation, creating a class of U.S.-born children who are

excluded from most federal public benefits, who live under a constant,

destabilizing threat of deportation, and who, as they age, will be unable

to work lawfully or to participate in American political life as voters or

officeholders.   Margaret D. Stock, Is Birthright Citizenship Good for

America?, 32 Cato J. 139, 150 (2012). That denial of citizenship, in turn,

will have direct and immediate consequences for Plaintiffs—17 states,

the District of Columbia, and the City and County of San Francisco




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(“Plaintiffs”)—who will suffer irreparable financial injuries, operational

disruptions, and sovereign harms if the Order goes into effect.

           1.    Plaintiffs will suffer immediate financial injuries.

     Begin with the significant financial injuries that the Order will

cause.    Plaintiffs receive substantial federal funding to provide

healthcare, educational services, and foster-care services to children—

but only if those children are U.S. citizens or have a qualifying immigra-

tion status. If the Order goes into effect, Plaintiffs will lose federal fund-

ing they would otherwise receive for providing those critical services to

Covered Children. In the proceedings below, Plaintiffs introduced undis-

puted evidence of financial harm to four programs in particular.

      First, Plaintiffs will lose funding they currently receive through

Medicaid and the Children’s Health Insurance Program (CHIP). Created

by federal law and administered by the States, these programs provide

healthcare to low-income individuals and families. The federal govern-

ment reimburses a substantial portion of the States’ costs for running

these programs—including 50 to 75 percent of the cost of serving eligible

children. See 42 U.S.C. § 1396d(b); 88 Fed. Reg. 81,090-01 (Nov. 21,

2023); JA245 (¶15); JA279 (¶8); JA354 (¶19); JA406 (¶23). But these



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reimbursements are available only for services provided to U.S. citizens

or “qualified aliens”: the federal government will not reimburse non-

emergency costs for “an alien who is not ... permanently residing in the

United States under color of law.” 42 U.S.C. § 1396b(v)(1); see 8 U.S.C. §

1611(a); 42 C.F.R. § 435.406. To ensure that all children have access to

comprehensive healthcare, several Plaintiffs provide—at their own ex-

pense—coverage for undocumented children who otherwise meet Medi-

caid or CHIP’s income thresholds. See JA243–245 (¶¶5–14); JA279–280

(¶¶7, 11); JA353–354 (¶¶16–17). By deeming certain children non-citi-

zens, the Order will shift numerous children to these state-funded plans

from their federally reimbursed counterparts, costing the States tens of

millions of dollars per year. See JA248 (¶29); JA280 (¶¶9–11); JA357–

358 (¶36); JA406–407 (¶¶23–26); JA436–437 (¶¶26–27). 3

      Second, the same loss of Medicaid eligibility will cause Plaintiffs to

lose federal funding for services provided to young children with disabil-

ities. Under the Individuals with Disabilities in Education Act (IDEA),


  3   Public expenditures will rise even in states that do not provide this
kind of coverage to undocumented children: the undisputed record shows
that the loss of Medicaid and CHIP eligibility will place a financial strain
on public hospitals, which will experience greater levels of uncompen-
sated care. JA346–347 (¶¶16, 19).

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states must provide early-intervention and special-education services to

certain children, including infants and toddlers.       See 20 U.S.C. §§

1400(d)(1)(A), (C)(2); 1412(a)(1)(C); 1433. Defendants then partially re-

imburse States for providing such services to children enrolled in Medi-

caid. JA255–256 (¶10); JA264 (¶¶17–18); JA366 (¶12). Because the Or-

der will eliminate Medicaid eligibility for Covered Children—including

those with special needs—Plaintiffs will suffer direct financial harms.

     Third, the Order will deprive state agencies of federal funds that

they currently receive under Title IV, part E, of the Social Security Act.4

See 42 U.S.C. §§ 670–679c. This “Title IV-E” funding covers a sizeable

portion of States’ expenses for foster care, adoption, and guardianship

assistance. See JA270–272 (¶¶10–16); JA325–327 (¶¶4–7); JA419–420

(¶¶13–19). Because this funding, too, is limited to citizens or “qualified

aliens,” see 8 U.S.C. §§ 1611(a), (c)(1)(B); 1641, States will shoulder the

full cost of providing crucial services to any children covered by the Order

if it goes into effect. See JA271 (¶15); JA327 (¶¶8–9); JA420 (¶18).


  4 The Order will similarly deprive San Francisco’s welfare agencies of

federal funds they currently receive under Temporary Assistance to
Needy Families (TANF) and Supplemental Nutrition Assistance Pro-
gram (SNAP). See JA229 (¶199); see also 42 U.S.C. § 603(a)(1)(B); 7
C.F.R. § 277.4(b).

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     Fourth, the Order will strip States of federal funding they receive

from the Social Security Administration (SSA) through their participa-

tion in the Enumeration at Birth (EAB) program. The EAB program al-

lows new parents to obtain an SSN during the birth registration process,

eliminating the need for them to gather documents and submit a separate

application to the SSA. See JA281 (¶15). Participating States transmit

SSN applications for newborns to the SSA and, in exchange, receive $4.82

per SSN issued. See JA262 (¶¶10–11); JA281–282 (¶18); JA335–336

(¶¶13–15); JA374 (¶23); JA382 (¶16). According to the SSA, 99% of SSNs

for newborns are assigned through this program. See Bureau of Vital

Statistics, State Processing Guidelines for Enumeration at Birth at 4

(Nov. 2024), https://bit.ly/3Gy9CQw. If the Order goes into effect, the

SSA will issue fewer SSNs to newborns (specifically, those the Order con-

siders not to be citizens), thus costing the States tens of thousands of

dollars.   See, e.g., JA262–263 (¶¶12–16); JA282 (¶19); JA337 (¶17);

JA375 (¶30); JA382 (¶17); JA445 (¶19).

     Defendants have never disputed that Plaintiffs will suffer the fi-

nancial consequences exactly as described above.       To the contrary,




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Defendants’ counsel expressly conceded the point during the preliminary

injunction hearing below. JA114 (38:2–17).

           2.    Plaintiffs will suffer immediate operational dis-
                 ruptions.

     The Order directly will impose significant administrative and oper-

ational burdens on Plaintiffs. Consistent with federal law, Plaintiffs

maintain systems to verify their residents’ eligibility for federally-funded

programs such as Medicaid, CHIP, Title IV-E, TANF, and SNAP. See,

e.g., 42 U.S.C. § 1396a(a)(5); 42 U.S.C. § 1396c; 42 U.S.C. § 671(a)(27); see

also JA249 (¶31); JA280 (¶12); JA328–329 (¶11); JA359 (¶¶42–43).

Right now, these systems are built on the premise that a child’s birth in

the United States is sufficient proof of the child’s U.S. citizenship: no

further documentation is necessary. See, e.g., JA274 (¶21); JA345 (¶15);

see also supra, p. 11 n.2.

     If the Order goes into effect, however, Plaintiffs will have to over-

haul these systems. They will need to (1) identify the kinds of evidence

that would now be sufficient to prove a child’s citizenship; (2) modify their

eligibility verification systems to incorporate information about the im-

migration status of a child’s parents; (3) implement new measures for

processing applications and tracking citizenship status; (4) train staff,


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partner organizations, and healthcare providers on new policies and pro-

cedures; and (5) revise existing guidance and manuals regarding eligibil-

ity. JA249–250 (¶¶32–35); JA274–275 (¶¶22–25); JA329–330 (¶¶12–15);

JA359–360 (¶¶44–45); JA408–409 (¶¶31–33); JA435–438 (¶¶25–28).

The federal government’s own practices confirm the substantial cost of

these efforts: USCIS currently charges $1,335 per application to deter-

mine whether a child born outside the United States is entitled to U.S.

citizenship.    USCIS, Form G-1055, Fee Schedule, at 34–35 (April 15,

2025 ed.) (filing fee for Form N-600), https://www.uscis.gov/g-1055; see 8

U.S.C. § 1356(m).

           3.     Plaintiffs will suffer immediate sovereign harms.

     Finally, if allowed to take effect, the Order will harm Plaintiff

States’ sovereign interests. “The Citizenship Clause defines which indi-

viduals become birthright citizens not only of the United States, but also

of the state in which they reside.” Defendants’ Add. 15 (Op. 10 n.7); see

U.S. Const. amend. XIV (“All persons born or naturalized in the United

States, and subject to the jurisdiction thereof, are citizens of the United

States and of the State wherein they reside.”) (emphasis added).




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      Moreover, state law also commonly makes U.S. citizenship a pre-

requisite for participation in various civic functions like juror service and

voting. See N.J. Stat. Ann. § 2B:20-1(c); Mass. Gen. Laws Ann. ch. 234A,

§ 4; Cal. Civ. Proc. Code § 203; N.J. Const. art. 2, § 1, cl. 3; N.J. Const.

art. 5, § 1, cl. 2; Mass. Const. Amend. art. 3; Cal. Const. art 2, § 2; Cal.

Const. art. 5, § 2; N.Y. Const. art. 4, § 2.

III. Procedural Background

      Plaintiffs filed this lawsuit the day after the Order issued, alleging

that it violated the Fourteenth Amendment and the INA and seeking

preliminary injunctive relief. After briefing and oral argument, the dis-

trict court granted that relief.

      Preliminarily, the district court held that Plaintiffs “easily” satis-

fied Article III requirements. Defendants’ Add. 13 (Op. 8). The court

explained that the Order would cause Plaintiffs to suffer “direct financial

harms” and “administrative upheaval,” and added that the States likely

also had Article III standing based on independent sovereign injuries. Id.

at 15 (Op. 10 n.7), 30 (Op. 25).

      On the merits, the district court concluded that Plaintiffs were

“nearly certain to prevail” on their constitutional and statutory claims.



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Id. at 19 (Op. 14) because “Wong Kim Ark leaves no room for the defend-

ants’ proposed reading of the Citizenship Clause,” id. at 21 (Op. 16), and

because 8 U.S.C. § 1401 separately codified Wong Kim Ark’s interpreta-

tion of the Citizenship Clause, id. at 24–35 (Op. 19–20). The district court

also held that the equities “tip[ped] decisively toward” Plaintiffs, who

would face irreparable harms through the loss of federal funds and new

costs to overhaul existing administrative systems, while Defendants

would suffer no material harm because an injunction would simply

“maintain a status quo that has been in place for well over a century.”

Id. at 32 (Op. 27). Finally, the district court found that a nationwide

injunction was “necessary to prevent [Plaintiffs] from suffering irrepara-

ble harm,” id. at 34 (Op. 29), because “the record establishe[d] that the

harms [Plaintiffs] face [would] arise not only from births within their bor-

ders, but also when children born elsewhere return or move to one of the

plaintiff jurisdictions,” id. at 9 (Op. 4).

      The district court then denied Defendants’ motion for a stay pend-

ing appeal, which challenged Plaintiffs’ standing and the propriety of is-

suing a nationwide injunction. JA527. The district court found that “this

was not a close case,” and emphasized that “[t]he equitable scale did not



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tip ever so slightly in the plaintiffs’ direction” but instead that “the four

factors favor the plaintiffs lopsidedly.” JA526.

     Defendants renewed their request for a stay in this Court, which

likewise denied Defendants’ motion. Writing for the Court, Chief Judge

Barron explained that Defendants’ standing objections were likely to fail

because Plaintiffs’ lawsuit was predicated on the loss of federal funds

traceable to the Order, injuries indistinguishable from those the Su-

preme Court had recently endorsed in Nebraska and New York. New Jer-

sey v. Trump, 131 F.4th 27, 35–38 (1st Cir. 2025). The Court also rejected

Defendants’ argument that prudential third-party standing principles

barred Plaintiffs from bringing their claims: as the Court observed, the

Order “directly operat[es]” against Plaintiffs by instructing federal offi-

cials to refuse to accept state and local documents recognizing Covered

Children as citizens by birth. Id. at 38–40.

     Regarding the scope of the injunction, the Court “declin[ed] to con-

sider arguments raised for the first time in this court in support of stay

pending appeal” and therefore rejected Defendants’ request for a nar-

rower alternative injunction that they had not presented to the district

court below.   Id. at 41–44. As for contentions about preparatory steps



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Defendants might take, the Court confirmed that “the plain terms” of the

injunction did not “enjoin ‘internal operations’ that are ‘preparatory op-

erations that cannot impose any harm’ on” Plaintiffs. Id. at 44.

                  SUMMARY OF THE ARGUMENT

     I.    For the reasons this Court already identified at the stay-pend-

ing-appeal stage, Plaintiffs have standing to bring their challenge. Plain-

tiffs will suffer classic pocketbook injuries from the implementation of

this Order: they will lose Medicaid, CHIP, TANF, SNAP, and Title IV-E

funding; they will lose funds for processing SSNs pursuant to the EAB

program; and they will incur operational and administrative costs given

the obligation to verify the citizenship of the participants in these federal

programs. These are not parens patriae claims, in which States sue to

redress Article III injuries suffered by their residents, but claims Plain-

tiffs bring to vindicate their own injuries—and Defendants do not cite a

single case in which States have been barred under Article III from pur-

suing such claims. Defendants argue that this case should be the first,

relying on the third-party standing doctrine, but that doctrine has no role

here: the Citizenship Clause impacts not only individual rights but sov-

ereign interests, as it redefines States’ own citizenry. In any event, as



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this Court already reasoned, Plaintiffs fit easily within an exception to

the third-party standing doctrine.

     II.   Binding Supreme Court precedent, which properly construes

the text and history of the Fourteenth Amendment and was codified at 8

U.S.C. §1401(a), conclusively resolves the merits of this case.

     First, the Order is contrary to the Fourteenth Amendment—which

the Supreme Court authoritatively construed in Wong Kim Ark. The Cit-

izenship Clause confers citizenship on “[a]ll persons born … in the United

States,” exempting only those not born “subject to the jurisdiction

thereof.” U.S. Const. amend. XIV, § 1. The Citizenship Clause thus con-

stitutionalized the English common-law rule of jus soli, under which eve-

ryone born in a sovereign’s territory is a subject, with the sole exception

of those whose parents were not subject to the sovereign’s full authority

at birth. The Clause thus exempts only the classes of individuals ex-

cluded under the English jus soli rule—that is, “children born of alien

enemies in hostile occupation, and children of diplomatic representatives

of a foreign state,” Wong Kim Ark, 169 U.S. at 682—with the “single ad-

ditional exception” of children of tribal members, who stood in a unique

status vis-à-vis U.S. authority and were unknown to the English common



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law. Id. at 693. For more than a century, the Supreme Court, this Court,

and uniform executive practice have all rested on precisely the same rule.

This Court should therefore reject Defendants’ effort to “disregard[]” all

of Wong Kim Ark’s reasoning and cabin that monumental and on-point

case to its facts. JA151.

     Second, 8 U.S.C. §1401(a) is likewise dispositive. Section 1401(a)

provides that all individuals born in the United States and subject to its

jurisdiction are citizens. By the time Congress codified the language of

the Citizenship Clause into the U.S. Code in 1940, it already had an es-

tablished meaning—that provided by the Supreme Court in Wong Kim

Ark. See JA119. Because federal laws are interpreted consistent with

the “public meaning of the statute’s language at the time of the law’s

adoption,” Bostock v. Clayton Cnty., 590 U.S. 644, 659 (2020), the Order

is also contrary to Section 1401(a).

     III.   The district court properly granted nationwide relief in order

to remedy Plaintiffs’ injuries. Plaintiffs established that they will suffer

direct and substantial pocketbook injuries not merely from the imple-

mentation of the Order as to the children born within their borders, but

also as to the thousands of children born outside their borders who later



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move into their States. The scope of relief ordered below is thus appro-

priate to meet Plaintiffs’ own harms. Defendants now say that there are

alternative ways to remedy those harms, but as this Court has already

explained, those alternatives were never presented to the district court

and thus supply no basis to reverse the district court’s decision. Regard-

less, on their face, these proffered alternatives are not practically or le-

gally workable—as they require a child’s citizenship status to vary when

she crosses state lines, and they implicate a host of serious administra-

bility questions to which Defendants have provided no answer.

                                ARGUMENT

      A preliminary injunction is appropriate where the plaintiff “estab-

lish[es] that he is likely to succeed on the merits, that he is likely to suffer

irreparable harm in the absence of preliminary relief, that the balance of

equities tips in his favor, and that an injunction is in the public interest.”

Together Emps. v. Mass. Gen. Brigham Inc., 32 F.4th 82, 85 (1st Cir.

2022) (quoting Winter v. NRDC, 555 U.S. 7, 20 (2008)). The district court

correctly determined that Plaintiffs satisfied all four factors.




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I.   The district court properly held that Plaintiffs have stand-
     ing to challenge the Order.

     A.    Plaintiffs have Article III standing.

     To satisfy Article III, a plaintiff must show that it will suffer an

“injury in fact” that is “fairly traceable” to the challenged government

decision and that “may be redressed by” a judicial order enjoining its im-

plementation. McBreairty v. Miller, 93 F.4th 513, 518 (1st Cir. 2024). A

state can satisfy these requirements by demonstrating a “substantial

risk” that a federal action will cause it to suffer proprietary harms, in-

cluding fiscal injuries. Massachusetts v. U.S. Dep’t of Health & Hum.

Servs., 923 F.3d 209, 222 (1st Cir. 2019) (“demonstration of fiscal injury”

satisfies Article III); see also In re Fin. Oversight & Mgmt. Bd. for P.R.,

110 F.4th 295, 308 (1st Cir. 2024) (financial losses are “a quintessential

injury in fact”). Even “small economic loss ... is enough to confer stand-

ing.” Massachusetts, 923 F.3d at 222.

     Plaintiffs easily satisfy these requirements. The Order would re-

verse the citizenship status of Covered Children, eliminating, by direct

operation of federal law, Plaintiffs’ ability to receive federal funding for

serving these children. See supra, pp. 14–18. As outlined in detail above,

the Plaintiffs introduced uncontested evidence that they will lose millions


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of dollars in Medicaid, CHIP, TANF, SNAP, and Title IV-E funding that

now supports critical health and child welfare services. See supra, pp.

14–17. Still more, Plaintiffs will immediately lose federal funds that they

currently receive for processing SSN applications at birth. See supra, p.

17. And Plaintiffs will incur substantial costs to create new verification

systems to comply with federal eligibility rules. See supra, pp. 18–19.

     As both this Court and the district court have already held, these

are “precisely the same sort of direct financial impacts” that conferred

standing in Biden v. Nebraska, 600 U.S. 477 (2023), and Department of

Commerce v. New York, 588 U.S. 752 (2019). Defendants’ Add. 13–16

(Op. 8–11); see New Jersey v. Trump, 131 F.4th 27, 35-38 (1st Cir. 2025)

(confirming “pocketbook injuries” in this case match those in Nebraska

and New York). In Nebraska, the challenged federal loan-forgiveness pro-

gram injured Missouri by causing its instrumentality to receive fewer

fees for administering student loans, see 600 U.S. at 490–491, just as this

Order directly causes Plaintiffs to lose federal funding (such as EAB pay-

ments) and incur administrative costs. Those injuries are not “specula-

tive,” as Defendants now suggest (Br. 50)—to the contrary, Defendants




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have conceded they will occur, see JA113-114 (37:20–38:17), and the rec-

ord shows this conclusively.

     Defendants fail to meaningfully distinguish Nebraska or New York;

instead, they continue to rely (Br. 49–50) on a footnote from United States

v. Texas, 599 U.S. 670, 680 n.3 (2023). But as the district court and this

Court recognized, Texas is on a wholly different footing. There, the Su-

preme Court held that Article III precludes “challenges to the Executive

Branch’s exercise of enforcement discretion over whether to arrest or

prosecute,” id. at 677, such as the lawsuit in that case, and that Texas’s

specific “theories of standing” failed to “overcome[] th[at] fundamental

Article III problem,” id. at 680 n.3. Because Plaintiffs here do not chal-

lenge a lack of enforcement in any way, Texas is inapposite.

     Nor can Plaintiffs’ injuries fairly be characterized as “self-inflicted.”

Defendants’ Br. 52. As multiple circuits have observed, “[c]ourts regu-

larly entertain actions brought by states and municipalities that face eco-

nomic injury, even though those governmental entities theoretically

could avoid injury by enacting new legislation.” California v. Azar, 911

F.3d 558, 574 (9th Cir. 2018). Indeed, this Court recognized in Massa-

chusetts that the Commonwealth had standing to challenge federal



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policies that would directly cause more women to take advantage of state-

funded contraceptive care. 923 F.3d at 225–27. “[A] state’s ability to

change its laws to evade injury [does not] preclud[e] standing,” New Jer-

sey v. EPA, 989 F.3d 1038, 1046 (D.C. Cir. 2021), especially as “nothing

here indicates that” Plaintiffs administer Medicaid or other critical pro-

grams “in order to manufacture standing,” id. at 1047.

      Finally, Plaintiffs suffer a sovereign injury beyond their pocketbook

injuries. The Order upends the century-old definition of the States’ citi-

zenry, for “[t]he Citizenship Clause defines which individuals become

birthright citizens not only of the United States, but also of the state in

which they reside.” Appellants’ Add. 15 (Op. 10 n.7); U.S. Const. amend.

XIV, § 1 (“All persons born or naturalized in the United States, and sub-

ject to the jurisdiction thereof, are citizens of the United States and of the

State wherein they reside.”). The Order—by redefining the Fourteenth

Amendment for the first time in over a century—thus redefines who falls

within the sovereign States’ own citizenry too, directly impinging on

Plaintiffs’ sovereign interests.

      That sovereign injury is exacerbated by the fact that “state laws

commonly define civic obligations such as jury service using eligibility



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criteria that include U.S. citizenship.” Defendants’ Add. 15 (Op. 10) n.7;

see supra, p. 20. The Order thus directly shrinks the pool of individuals

eligible to participate in such core sovereign functions. Defendants’ re-

sponse (Br. 48-49 n.5) assumes that these functions and federal citizen-

ship can be easily separated, ignoring that Plaintiffs would have to

amend their statutes or constitutional provisions to avoid this harm to

these civic activities.

      B.    Prudential “third-party standing” limitations do not
            bar Plaintiffs’ challenge.

      Defendants’ principal response—that prudential third-party stand-

ing principles bar Plaintiffs from obtaining relief for their own Article III

injuries (Br. 44–-48)—is unavailing.

      The cases Defendants cite each found a lack of standing because the

States did not allege any Article III injuries that they, as opposed to their

residents, suffered from the federal action. See Haaland v. Brackeen, 599

U.S. 255, 294-96 (2023) (Texas lacked standing where “not injured by the

placement preferences” challenged); Murthy v. Missouri, 603 U.S. 43, 75-

76 (2024) (Missouri lacked standing where not injured by content moder-

ation activities); Massachusetts v. Mellon, 262 U.S. 447, 479-80, 482




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(1923) (Massachusetts lacked standing where legislation did not “require

the states to do or to yield anything” and imposed no “burden” on them). 5

     Those cases have no applicability here because, as both the district

court and this Court already found, see Defendants’ Add. 15 (Op. 10) n.7;

New Jersey, 131 F.4th at 40, Plaintiffs are suing to obtain redress for

their own direct injuries from the Order. See supra, pp. 13–20; Kentucky

v. Biden, 23 F.4th 585, 594, 596 (6th Cir. 2022) (States have standing

when they “assert[] some injury to their own interests separate and apart

from their citizens’ interests”). Plaintiffs therefore have standing to rem-

edy their own harms, and Defendants do not cite a single case in which a

State that had established Article III standing was nonetheless barred

from seeking relief.

     Defendants nevertheless argue—based on a misunderstanding of

the third-party standing doctrine—that this Court should issue an un-

precedented ruling barring States from suing to vindicate their own



  5 South Carolina v. Katzenbach, 383 U.S. 301 (1966), is even further

afield. Katzenbach concerned South Carolina’s challenge to provisions of
the Voting Rights Act of 1965 that determined whether a State was
subject to the Act’s remedies designed to redress voting discrimination.
Id. at 307, 315-16. The Court dismissed South Carolina’s due process
claim for the simple reason that States lack due process rights, id. at 323.

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injuries, but the Court should reject the invitation. Defendants rest on

the argument that constitutional claims should only “be brought by the

person ‘at whom the constitutional protection is aimed,’ that is, ‘the party

with the right,’” Br. 44–45 (quoting Kowalski v. Tesmer, 543 U.S. 125,

129 (2004), and further citing Warth v. Seldin, 422 U.S. 490, 499 (1975)).

But courts have repeatedly allowed States to litigate claims that federal

action violates constitutional rights where the State establishes its own

Article III injury. See, e.g., Massachusetts, 923 F.3d at 222 (Massachu-

setts had standing to challenge federal regulations based on pocketbook

injuries, and among its claims were that the regulations violated equal

protection, see 301 F. Supp. 3d 248, 250 (D. Mass. 2018)); Kozera v.

Spirito, 723 F.2d 1003, 1005-06 (1st Cir. 1983) (Massachusetts had stand-

ing to challenge constitutionality of federal regulations that “would de-

prive the state of funds to which it would” otherwise “have been entitled

… diminish[ing] Massachusetts’ ability to provide welfare assistance to

families of its needy children”); Georgia v. McCollum, 505 U.S. 42, 56

(1992) (Georgia had standing to litigate equal protection rights of jurors

because “a State suffers … injury when the fairness and integrity of its

own judicial process is undermined”); cf. Pierce v. Society of Sisters, 268



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U.S. 510, 573 (1925) (private schools had standing to challenge compul-

sory public education law as violating parental rights because schools’

“business and property” interests were “threatened” by the law).

     And here, Defendants’ third-party standing argument is particu-

larly weak for two independent reasons: first, the Citizenship Clause

impacts sovereign interests directly, and second, as this Court held in

denying Defendants’ request for a stay pending appeal, a well-estab-

lished exception to the third-party standing doctrine also applies here.

131 F.4th at 38–40.

     First, Plaintiffs are not relying on a “constitutional protection” that

“is aimed” only at another—the premise of Defendants’ third-party stand-

ing argument. Kowalski, 543 U.S. at 129. To the contrary, the Citizen-

ship Clause defines members of the States’ citizenry. The post-Civil War

Framers of the Fourteenth Amendment made this point explicitly, guar-

anteeing that “[a]ll persons born or naturalized in the United States, and

subject to the jurisdiction thereof, are citizens of the United States and

of the State wherein they reside.” U.S. Const. amend. XIV, § 1 (emphasis

added). It is thus passing strange for the United States to argue that

States cannot get redress for their own Article III harms flowing from a



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violation of the Citizenship Clause—a constitutional provision that dis-

cusses the States explicitly, that defines their citizenry. On that basis

alone, Defendants’ prudential argument cannot pass muster.

     Nor is there anything unusual about both individuals and govern-

ments being able to assert their own rights under the same constitutional

provision—so long as they are suffering their own Article III injuries, as

both individuals and the States are in this case. Indeed, in Bond v.

United States, the Supreme Court recognized that individuals and the

States alike could assert claims under the Tenth Amendment—as it im-

pacted both sovereign authorities and individual rights. 564 U.S. 211,

221–26 (2011); see also Seila Law LLC v. CFPB, 591 U.S. 197, 210–213

(2020) (violation of President’s removal authority may be challenged, not

only via contested removal, but also by corporation suffering Article III

injury); INS v. Chadha, 462 U.S. 919, 935–36 (1983) (constitutionality of

legislative veto may be challenged not only by Executive Branch whose

power is infringed, but also by individual suffering Article III injury).

Defendants make no effort to square their argument that individuals

alone can vindicate rights under the Citizenship Clause with the




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precedents establishing that individuals and governments could have

distinct interests they can each vindicate.

     Second, even if the third-party standing doctrine could bar the

Plaintiffs’ claims under the Citizenship Clause in some other case, this

Court has already correctly held that a well-established exception applies

in this circumstance. See New Jersey, 131 F.4th at 38–40. Even in that

doctrine’s most muscular form, a party may protect its own Article III

interests based on third-parties’ rights if “enforcement of the challenged

restriction against the litigant would result indirectly in the violation of

third parties’ rights.” Kowalski, 543 U.S. at 130 (citations omitted); see

also June Med. Servs. L.L.C. v. Russo, 591 U.S. 299, 318–19 (2020) (rec-

ognizing that condition as “generally permit[ing] plaintiffs to assert

third-party rights in [such] cases”); Carey v. Population Servs. Int’l, 431

U.S. 678, 682–84 (1977) (seller had standing to challenge sale restrictions

on ground that they violated purchasers’ constitutional rights); Craig,

429 U.S. at 193–97 (1976) (same).

     As this Court has already explained, that is the case here: Plaintiffs

are among the intermediaries against whom the Order’s limits on birth-

right citizenship “directly operat[es].” New Jersey, 131 F.4th at 39. The



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Order operates directly on the States by prohibiting federal agencies from

“accept[ing] documents issued by State, local, or other governments or

authorities”—i.e., issued by Plaintiffs here—“purporting to recognize

[the] United States citizenship” of the Covered Children. Defendants’

Add. 1-2 (Order § 2). This prohibition on federal recognition of Plaintiffs’

submissions as proof of citizenship requires them to incur significant ad-

ministrative costs to revamp federal eligibility verification systems, and

denies them millions of dollars in federal reimbursements they would

otherwise have received. See supra, pp. 14–18. That this further “has the

indirect effect of preventing the individuals from obtaining federally

funded services based on their U.S. citizenship,” New Jersey, 131 F.4th

at 39, does not bar Plaintiffs’ claims.

     Defendants’ argument that the Order’s requirements are not suffi-

ciently enforced against the States misapprehends federal law. Preexist-

ing federal law obligates the States to confirm, in managing the federal

benefits programs they administer, that the participants are citizens or

have some other qualifying lawful status.           See, e.g., 42 U.S.C.

§ 1396a(a)(5) (noting a state plan for Medicaid must include provisions

that ensure it is verifying participants’ eligibility). The Order thus puts



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the Plaintiffs in an untenable position: if Plaintiffs continue to verify

citizenship based on the language of the Fourteenth Amendment and

contrary to the provisions of the Order, they put their Medicaid funds at

risk, see 42 U.S.C. § 1396c (stating noncompliance with Section 1396a

leads to termination of payments); but if they adhere to the Order, they

will be violating citizens’ rights under the Fourteenth Amendment and

would thus be exposed to liability under 42 U.S.C. § 1983. Cf. Kozera,

723 F.2d at 1005–06 (Massachusetts had standing given similar

“squeeze” whereby it could either comply with the Constitution or with

federal regulatory requirements, but not both). Given that Plaintiffs suf-

fer their own Article III injuries, that the Citizenship Clause directly gov-

erns their sovereign interests, and that a decision barring Plaintiffs from

suing would leave them trapped in the same “squeeze”, 6 this Court was


6 Finally, another exception applies here too:    Kowalski also recognizes
that prudential limits on standing do not apply where “the party assert-
ing the right has a ‘close’ relationship with the person who possesses the
right,” and where “there is ‘hindrance’ to the possessor’s ability to protect
his own interests.” 543 U.S. at 130 (quoting Powers v. Ohio, 499 U.S.
400, 411 (1991)). Plaintiffs here have a close relationship with Covered
Children as a provider of medical, educational, and child welfare services
for which federal funding depends on the children’s citizenship status.
And there is an obvious hindrance: to forestall the Order’s deprivation of
their rights—in some cases, with consequences for their ability to access


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right at the stay-pending-appeal stage to hold that Plaintiffs likely have

standing, and it should confirm their standing now. See New Jersey, 131

F.4th at 38–39.

     In the end, it should come as no surprise that Defendants’ third-

party standing arguments are unavailing: the concerns that animate the

third-party standing doctrine have no applicability here. This prudential

limitation reflects concerns that a plaintiff other than the rightsholder

may lack “the appropriate incentive to challenge” the action “with the

necessary zeal and appropriate presentation,” Kowalski, 543 U.S. at 129

(citation omitted), or that such claims may require courts “to decide ab-

stract questions … even though judicial intervention may be unnecessary

to protect individual rights,” id. (quotation omitted). But Plaintiffs have

every “incentive to challenge” the Order with the same “zeal and appro-

priate presentation” as the Covered Children themselves, given the sig-

nificant injuries Plaintiffs face if the Order takes effect. Id.; see supra,

pp. 13–20. And there is nothing abstract about the question at issue here;


key services like health insurance—each of the hundreds of Covered Chil-
dren born each day, or their families, would have to bring suit immedi-
ately upon their birth. This “practical” limitation on “the likelihood and
ability of the third parties … to assert their own rights,” Powers, 499 U.S.
at 414, further supports this suit.

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it is undisputed that the Order will broadly deny citizenship to hundreds

of thousands of children in the first year alone and will impose concomi-

tant financial costs and other injuries on Plaintiffs. See supra, pp. 13-20.

     In these ways, this suit is no different from Kozera, where this

Court held that prudential considerations did not bar the Commonwealth

of Massachusetts from challenging a federal rule as violating the consti-

tutional rights of children to whom it provided financial assistance. See

723 F.2d at 1006. Because the Commonwealth’s interests were con-

sistent with those of the children whose rights were violated, and the suit

did “not entail ‘unwarranted intervention into controversies where the

applicable constitutional questions are ill-defined and speculative,’” the

Commonwealth was permitted to litigate its claim. Id. (quoting Craig v.

Boren, 429 U.S. 190, 193 (1976)). That is the same result that should

obtain here—especially as the Citizenship Clause so directly governs the

Plaintiffs’ sovereign interests.




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II.   The district court did not abuse its discretion in granting a
      preliminary injunction.

      A.   The district court correctly held that the Order likely
           violates the Fourteenth Amendment and the INA.

      As the district court concluded, “[P]laintiffs are exceedingly likely

to prevail on the merits of their constitutional and statutory claims.” De-

fendants’ Add. 29 (Op. 24). Indeed, the Order contravenes 127 years of

Supreme Court precedent, over a century of executive practice, and Con-

gress’s decision to codify both into the INA.

           1.     The Order violates the Fourteenth Amendment.

      The Citizenship Clause provides, “in plain and simple terms,” De-

fendants’ Add. 19 (Op. 14), that “[a]ll persons born … in the United

States, and subject to the jurisdiction thereof, are citizens of the United

States.” U.S. Const. amend. XIV, § 1. Because the children of immi-

grants who are undocumented or have temporary lawful status are “sub-

ject to the jurisdiction” of the United States as that phrase was inter-

preted in Wong Kim Ark—an interpretation consistent with the phrase’s

“‘normal and ordinary’ meaning,” and “confirmed by the historical back-

ground” of the Fourteenth Amendment, N.Y. State Rifle & Pistol Ass’n.

v. Bruen, 597 U.S. 1, 20 (2022) (cleaned up)—they are constitutionally

entitled to citizenship. The Order is thus facially unconstitutional.

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     1. A straightforward application of Wong Kim Ark, 169 U.S. 649,

disposes of this appeal. As detailed above, see supra, pp. 4–9, Wong Kim

Ark exhaustively reviewed the history of citizenship rules under the Eng-

lish common law and in the United States, and examined the history and

intent of the Citizenship Clause itself. Based on this comprehensive

analysis, the Court concluded that the Citizenship Clause reflects the jus

soli rule from English common law—that is, it grants citizenship to eve-

ryone “born in the United States,” excepting only those unique classes of

individuals who would not be “subject to the jurisdiction” of the United

States, though present within its borders: the children of foreign diplo-

mats, of alien enemies during a hostile occupation, and of Native Ameri-

can tribal members. Wong Kim Ark, 169 U.S. at 693–94. The children of

immigrants who are undocumented or have temporary lawful status do

not fit any of these limited exceptions, nor their underlying reasoning

and logic. Indeed, both the Supreme Court and this Court repeatedly

have recognized the citizenship of such children. See supra pp. 10–11.

     Wong Kim Ark binds this Court, but regardless, it properly con-

strued the text and history of the Citizenship Clause. At the time of the

Fourteenth Amendment’s ratification, the public meaning of a nation’s



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“jurisdiction” was its “[p]ower of governing or legislating” or “right of ex-

ercising authority.” Noah Webster, An American Dictionary of the Eng-

lish Language 635 (George & Charles Merriam 1860) (JA492). The com-

mon-law exceptions to birthright citizenship that Wong Kim Ark recog-

nized rested, the Court explained, on well-founded principles that this

“jurisdiction” is subject only to narrow limitations where an individual is

not subject to the United States’ exclusive sovereign authority. See 169

U.S. at 684–85 (noting United States is “understood to waive the exercise

of a part of [its] complete exclusive territorial jurisdiction” when permit-

ting foreign sovereigns and their representatives to enter U.S. territory);

id. at 683 (recognizing that when foreign power occupies portion of

United States, the “sovereignty of the United States over the territory” is

“of course, suspended, and the laws of the United States could no longer

be rightfully enforced there”).

     The children of immigrants, regardless of the immigration status of

their parents, are subject to this country’s sovereign authority. As Wong

Kim Ark explained, building upon Chief Justice Marshall’s recognition of

the same point in Schooner Exchange v. McFaddon, 11 U.S. 116 (1812),

foreign nationals who enter the United States even temporarily, for



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“business or caprice,” are not “exempt[] ‘from the jurisdiction of the coun-

try in which they are found’” because “it would be obviously inconvenient

and dangerous to society, and would subject the laws to continual infrac-

tion” if such individuals “were not amenable to the jurisdiction.” 169 U.S.

at 685–86. The same is true for the children covered by this Order and

their parents. The nation has not waived its sovereign authority to en-

force the laws against them. Indeed, the very fact that the United States

enforces its immigration laws against those without lawful status—

which Defendants would hardly deny—is proof positive that the popula-

tion is subject to United States jurisdiction in the first place. Ho, Defin-

ing “American”, 9 The Green Bag at 368–69 (arguing undocumented im-

migrants “are such because they are subject to U.S. law”).

     Defendants are wrong to charge (Br. 15–18, 37) that this conception

of “jurisdiction” does not cohere with the established exceptions to the

rule that birth on U.S. soil confers U.S. citizenship. To the contrary, each

exception applies in one of the few circumstances in which the United

States has ceded some part of its sovereign authority to a foreign govern-

ment. As laid out just above, that perfectly describes the two common-

law exceptions to jus soli: children of foreign diplomats and hostile



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occupants are considered born under the sovereign power of another na-

tion—either because the United States has consented to this fiction, as

in the case of the foreign diplomat, or because the United States’ author-

ity has been overcome by force, as in the case of the hostile enemy occu-

pant—and therefore are not subject to the full exercise of the United

States’ sovereign power. Wong Kim Ark, 169 U.S. at 684–86. But as

Wong Kim Ark explained (contra Defendants’ arguments), children born

to tribal members are analogous to “children of subjects of a[] foreign gov-

ernment born within the domain of that government.” Id. at 681–83

(quoting Elk, 112 U.S. at 99–103). That is, tribal children are considered

born within the sovereign power of an “alien nation” operating within the

boundaries of the United States. Id. at 681. That logic, however, has no

application here: children born in the United States to immigrants are

not born under the sovereign authority of another nation operating

within our borders. They are born “subject to the jurisdiction”—the com-

plete authority—of the United States.

     2. Defendants’ contrary claims that birthright citizenship instead

is based on a nebulous “allegiance” analysis or the parent’s domicile are

directly contrary to Wong Kim Ark. Nor is there any basis in the text of



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the Citizenship Clause, precedent, or logic for their position.

     a. Defendants’ claim (Br. 15, 18), that the Citizenship Clause ex-

cludes the Covered Children because their parents do not owe the United

States “primary allegiance,” is irreconcilable with Wong Kim Ark. In-

deed, though once residents in the United States, Wong Kim Ark’s par-

ents were not U.S. citizens but were “subjects of the emperor of China.”

169 U.S. at 652-53, 705. Although the dissent viewed this fact as pre-

cluding Wong Kim Ark’s family from being “subject to the jurisdiction” of

the United States, see id. at 725 & n.2 (Fuller, C.J., dissenting) (claiming

Chinese law and custom prohibited renouncing allegiance to Chinese em-

peror, and thus Chinese children were never born subject to U.S. juris-

diction), the majority disagreed. It resoundingly rejected the argument

that foreigners are not “subject to the jurisdiction” of the United States

on account of being subjects of another nation. Id. at 683-86.

     Defendants rest their mistaken theory of “jurisdiction” on the ref-

erences to “allegiance” in Elk and Wong Kim Ark, implying that a new-

born’s parents must have some principal loyalty to the United States for

the child to be entitled to citizenship. But this misreads the meaning of

“allegiance,” as used in 19th-century discussions of citizenship. As Wong



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Kim Ark makes clear, “allegiance” in this context means “nothing more

than the tie or duty of obedience” to the sovereign’s laws—that is, pre-

cisely the same thing as being subject to the county’s legal jurisdiction.

169 U.S. at 659 (citation omitted); Noah Webster, An American Diction-

ary of the English Language 35 (George & Charles Merriam 1860) (Plain-

tiffs’ Add. 11) (defining “allegiance” as “[t]he tie or obligation of a subject

to his prince or government; the duty of fidelity to a king, government, or

state,” and noting “[e]very native or citizen owes allegiance to the govern-

ment under which he is born”). Indeed, Wong Kim Ark expressly rejected

the notion that any “oath” or affirmative pledge of loyalty was necessary

to render someone “within the allegiance” and thus “subject to the juris-

diction” of the United States. 169 U.S. at 655, 693–94. Unlike the limited

classes excluded from birthright citizenship, the Covered Children are

not exempt in any way from the nation’s laws and are therefore born

“within the allegiance” of the United States.

      Defendants also rely (Br. 15–16) on language from prior cases that

Wong Kim Ark expressly rejected as a reason to consider subjects of for-

eign nations, while present in the United States, not subject to U.S. ju-

risdiction. Defendants invoke a quote from the Slaughter-House Cases,



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83 U.S. (16 Wall.) 36, 73 (1873), but as Wong Kim Ark explains, this was

“unsupported” dicta, and inconsistent with later statements by the same

justice and the general jus soli tradition. 169 U.S. at 678–79. 7 Similarly,

although Defendants lean heavily on Elk v. Wilkins, 112 U.S. 94, Wong

Kim Ark explains that Elk “concerned only members of the Indian tribes”

and had no bearing on the citizenship of “children born in the United

States of foreign parents.” 169 U.S. at 682.

     Further, Defendants’ argument is incompatible with the Supreme

Court’s affirmation of dual citizenship, whereby “a person may have and

exercise rights of nationality in two countries and be subject to the re-

sponsibilities of both.” Kawakita v. United States, 343 U.S. 717, 723

(1952). In Kawakita, the Court recognized that an individual “born in

this country” to Japanese parents was “a citizen of the United States by

birth,” id. at 720, even though “all Japanese nationals … are duty bound

to Japanese allegiance,” id. at 724. The Court recognized that this is so

even “[a]t a time of threatened Japanese attack upon this country.”


  7 Defendants’ citation to a treatise by Alexander P. Morse (Br. 28), can

be disregarded because Morse relies solely on the language from the
Slaughter-House Cases that the Supreme Court in Wong Kim Ark re-
jected. Compare Alexander P. Morse, A Treatise on Citizenship 248 & n.4
(1881) (Plaintiffs’ Add. 2), with Wong Kim Ark, 169 U.S. at 678-79.

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Hirabayashi v. United States, 320 U.S. 81, 96 (1943). Simply put, paren-

tal ties to another nation do not defeat a child’s birthright citizenship.

     The different citizenship language of the Civil Rights Act of 1866

provides no reason to depart from Wong Kim Ark. Defendants emphasize

(Br. 20–22) that the 1866 Act which preceded the Fourteenth Amend-

ment conferred citizenship upon “all persons born in the United States

and not subject to any foreign power, excluding Indians not taxed.” But

Wong Kim Ark already rejected this argument. 169 U.S. at 688. As the

Court explained, given our country’s entrenched tradition of jus soli, the

1866 Act could not reasonably be interpreted to deny citizenship, “for the

first time in our history,” to U.S.-born children of foreign parents other

than those “in the diplomatic service of their own country,” or “in hostile

occupation of part of our territory.” Id. And “any possible doubt in this

regard was removed when the negative words of the civil rights act, ‘not

subject to any foreign power,’ gave way … to the [Citizenship Clause’s]

affirmative words, ‘subject to the jurisdiction of the United States.’” Id.

     Finally, Defendants’ invocation of international law principles, in-

cluding those expounded by the Swiss writer Emer de Vattel (Br. 22–23),

also provides no basis to depart from Wong Kim Ark. Wong Kim Ark



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expressly rejected Vattel’s view “that, in order to be of the country, it is

necessary that a person be born of a father who is a citizen.” Vattel, Law

of Nations (6th Am. ed. 1844), § 212, at 101 (Plaintiffs’ Add. 4–5). Vattel’s

view reflects “the rule of the Roman law,” jus sanguinis, “by which the

citizenship of the child followed that of the parent,” which was recognized

in many civil law countries and by international law scholars. 169 U.S.

at 666. But Wong Kim Ark made clear that this international law concept

had not “superseded” the common-law jus soli rule in America. Id. at

666–67; compare id. at 708–09 (dissent, citing Vattel and arguing for the

jus sanguinis rule over the jus soli rule). The Court explained that “[t]he

later modifications of the rule in Europe rest upon the constitutions,

laws, or ordinances” of those countries and have “no important bearing

upon the interpretation and effect of the constitution of the United

States.” Id. at 667. Indeed, Vattel himself recognized that in “England

… the single circumstance of being born in the country, naturalizes the

children of a foreigner.” Law of Nations § 214, at 101 (Plaintiffs’ Add. 5).

     b. Defendants’ domicile argument likewise fails. Defendants argue

(Br. 18–20) that foreigners only have the requisite “allegiance” to be sub-

ject to U.S. jurisdiction if they are domiciled here.      But apart from



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misconstruing the concept of “allegiance,” see supra, pp. 46-49, this pur-

ported domicile requirement appears nowhere on the face of the Citizen-

ship Clause and is inconsistent with the plain text of the Fourteenth

Amendment and the preexisting jus soli rule that it constitutionalized.

     Most importantly, it is not possible to read into the constitutional

phrase “subject to the jurisdiction” an intention to restrict birthright cit-

izenship to the children of domiciliaries. Just the opposite: the phrase

already had a far broader meaning than “domiciled in” the United States:

As Chief Justice Marshall stated in The Schooner Exchange, even those

briefly traveling through the country are not “exempt[] from the jurisdic-

tion of the country in which they are found” because they “owe temporary

and local allegiance” that requires them to comply with U.S. laws. Wong

Kim Ark, 169 U.S. at 685–86 (emphasis added).

     The centuries old jus soli rule that the Fourteenth Amendment

adopted is also incompatible with a domicile test. As Wong Kim Ark ex-

plained, under the jus soli rule, “temporary and local allegiance” is

“strong enough to make a natural subject” of the children of any foreigner

born in the sovereign’s territory. Id. at 693 (quoting Calvin’s Case). In-

deed, the Wong Kim Ark majority and dissent both agreed that “[b]y the



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common law of England, every person born within the dominions of the

crown, no matter … whether the parents were settled, or merely tempo-

rarily sojourning, in the country, was an English subject.” Id. at 657; see

id. at 706 (Fuller, C.J., dissenting) (same); e.g., Lynch v. Clark, 1 Sand.

Ch. 583 (N.Y. Ch. Ct. 1844) (holding that child born in the United States

U.S. to Irish national parents who were temporarily visiting was a citizen

per governing jus soli rule). And Wong Kim Ark undoubtedly “establishes

that at common law in England and the United States the rule with re-

spect to nationality was that of the jus soli.” Weedin v. Chin Bow, 274

U.S. 657, 660 (1927).

     None of Defendants’ arguments in support of their domicile theory

can overcome Wong Kim Ark’s contrary interpretation of the meaning of

“jurisdiction” in the Citizenship Clause. Defendants point to sources es-

tablishing that the United States has jurisdiction over foreigners domi-

ciled in the United States and affords them greater protections than

other foreigners (Br. 18–20, 25–26, 39–40), but this does not establish

that the United States lacks jurisdiction over foreigners who are tempo-

rarily visiting—contrary to Chief Justice Marshall’s seminal explanation

of jurisdiction in Schooner Exchange. See 11 U.S. at 144. Nor do stray



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statements by congressmen in speeches or letters (Defendants’ Br. 21–

22, 27–28) justify disregarding the jus soli rule.8 And although Justice

Story had opined before Wong Kim Ark that birthright citizenship

“should not apply to the children of parents” temporarily in the country,

(Defendants’ Br. 23 (quoting Commentaries on the Conflict of Laws, For-

eign and Domestic § 48 (1834))) (emphasis added), this is not the only

instance in which “Story’s views are in considerable tension with English

common law,” Burnham v. Superior Ct. of Calif., Cnty. of Marin, 495 U.S.

604, 635 n.8 (1990) (Brennan, J., concurring).

     Continuing a trend throughout their brief, Defendants rely on ar-

guments and sources that were presented to the Court in Wong Kim Ark,

but which failed to convince the majority to depart from the jus soli rule.

Compare, e.g., Br. 26–27 (citing Hall’s Treatise on International Law)

with 169 U.S. at 666 (majority citing same); Br. 28 (citing Benny v.

O’Brien, 58 N.J.L. 36, 32 A. 696, 698 (1895)) with 169 U.S. at 693


  8 Defendants (Br. 27–28) misrepresent an exchange between Senators

Fessenden and Wade. When Senator Fessenden suggested that “a person
… born here of parents from abroad temporarily residing in this country”
may not be a citizen, Senator Wade responded: “The Senator says a per-
son may be born here and not be a citizen. I know that is so in one in-
stance, in the case of children of foreign ministers.” Cong. Globe, 39th
Cong., 1st Sess., 2769 (emphasis added) (Plaintiffs’ Add. 22).

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(majority citing same); Br. 28 (citing Miller’s Lectures on the Constitution)

with 169 U.S. at 718–19 (dissent quoting same); Br. 30 (citing passport

denials by Secretaries of State Frelinghuysen and Bayard) with 169 U.S.

at 719 (dissent discussing same). None provides justification for depart-

ing from Wong Kim Ark.

     Several of Defendants’ sources (Br. 28–30) fail to support their dom-

icile argument not only because they contradict Wong Kim Ark, but also

because they describe an international law rule of expatriation rather

than an American rule about birthright citizenship. In the Spanish

Treaty Claims Commission report Defendants cite (Br. 30, 41), an assis-

tant attorney opines that a child who is born in the United States to for-

eign travelers and who grows up abroad “has a right of election, and on

attaining its majority,” she may elect either U.S. citizenship or the citi-

zenship of her parents. Spanish Treaty Claims Comm’n, U.S. Dep’t of

Justice, Final Report of William Wallace Brown, Assistant Attorney-Gen-

eral 125 (1910) (Plaintiffs’ Add. 20). 9 The international law treatises of


  9 The assistant attorney who authored the portion of the Final Report

Defendants rely on was of the opinion that Wong Kim Ark should be “lim-
ited to its own facts,” and that the “good deal” it said regarding birthright
citizenship passing to the children of “parents who are accidentally or


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Taylor and Westlake that Defendants cite (Br. 28–29) discuss a similar

rule. See also Wong Kim Ark, 169 U.S. at 722 (dissent discussing same

and citing Wharton’s Digest). Whatever the validity of such an interna-

tional law principle, it speaks to whether a U.S.-born child, having lived

abroad throughout childhood, abandons her U.S. citizenship by remain-

ing abroad as an adult. See, e.g., Hannis Taylor, A Treatise on Interna-

tional Public Law 220 (1901) (Plaintiffs’ Add. 8) (a U.S.-born child “who

goes during his minority to France, and there remains voluntarily after

he attains his majority, will be held to have abjured his American nation-

ality” (emphasis added)). But because something cannot be abandoned

without first being possessed, this principle assumes a right to U.S. citi-

zenship from birth. In any event, no “principle of international law …

could defeat the operation of the established rule of citizenship by birth

within the United States.” Wong Kim Ark, 169 U.S. at 660.



temporarily in the United States” should be disregarded as “mere dic-
tum.” Spanish Treaty Claims Comm’n, Final Report at 121, 124 (Plain-
tiffs’ Add. 16, 19). The author appears motivated to disregard Wong Kim
Ark by the mistaken beliefs that dual citizenship is not cognizable, but
see Kawakita, 343 U.S. at 723–24, and that any grant of citizenship that
the United States recognized for its own citizens it must reciprocally rec-
ognize for other countries. See Spanish Treaty Claims Comm’n, Final
Report at 121–25 (Plaintiffs’ Add. 16–20).

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     Defendants’ insistence that Wong Kim Ark’s holding is limited to

domiciliaries because the opinion mentions that Wong Kim Ark’s parents

were domiciled in San Francisco (Br. 37–39) improperly asks this Court

to “ignore all but a handful of sentences from Wong Kim Ark,” disregard-

ing “the bulk of the majority’s lengthy opinion.” Defendants’ Add. 21 (Op.

16). As the district court recognized, this “position reflects a serious mis-

understanding at best—and a conscious flouting at worst—of the judicial

process and the rule of law.” Id. The references in Wong Kim Ark to the

fact that the petitioner’s parents were residing in San Francisco at the

time of his birth are simply a natural way to describe their presence in

the United States at the time. Their residency status did not factor in

the Court’s analysis, as is evident from the Court’s explication of the

broad jus soli principle, the expansiveness of U.S. jurisdiction over visit-

ing foreigners, and the narrow exceptions thereto. See supra, pp. 4–9.

     3. Finally, Defendants’ “interpretive principles” (Br. 33–36) are ill-

disguised policy arguments that fail to rehabilitate the Order’s facial un-

constitutionality. Defendants bemoan international conflicts that may

arise from dual citizenship and complain that birthright citizenship in-

centivizes disfavored immigration and can result in citizenship extending



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to the children of dangerous individuals present in the United States,

“[b]ut the enshrinement of constitutional rights necessarily takes certain

policy choices off the table.” District of Columbia v. Heller, 554 U.S. 570,

636 (2008). While the political branches retain tools to deal with the con-

cerns Defendants cite—for example, the executive can make tourist visas

unavailable for anyone seeking to enter the United States to “obtain[]

United States citizenship for a child,” 85 Fed. Reg. 4219, 4223 (Jan. 24,

2020)—denying birthright citizenship to those constitutionally entitled

to it is not among them. See Nishikawa v. Dulles, 356 U.S. 129, 138

(1958) (because the “Constitution has conferred” birthright citizenship,

“neither the Congress, nor the Executive, nor the Judiciary, nor all three

in concert, may strip [it] away”). That principle resolves this case.

     Indeed, in Wong Kim Ark itself, the Court affirmed Wong Kim Ark’s

birthright citizenship against an odious legislative policy of “exclusion of

persons of Chinese descent.” 169 U.S. at 706, 725–26 (Fuller, C.J., dis-

senting); see Fong Yue Ting, 149 U.S. at 717 (explaining racist rationale

for Chinese Exclusion Acts). Despite these alleged policy concerns, Wong

Kim Ark affirmed the Chinese petitioner’s birthright citizenship, declar-

ing that “[w]hatever considerations” had led the political branches “to



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decline to admit persons of the Chinese race to the status of citizens,”

none could overcome “the peremptory and explicit language of the four-

teenth amendment.” 169 U.S. at 694, 705.

     This was the Citizenship Clause operating as designed. Indeed,

having learned the painful lessons of Dred Scott, the Framers of the Four-

teenth Amendment understood “our country should never again trust to

judges or politicians the power to deprive from a class born on our soil

the right of citizenship.” OLC Op., 1995 WL 1767990, *6. The President

cannot change that tradition with the stroke of a pen, reinterpreting the

Fourteenth Amendment for the first time in 127 years.       The Order is

unconstitutional.

           2.    The Order violates the INA.

     As Defendants’ brief makes clear, they disagree with Wong Kim

Ark. But even if this Court could look past binding Supreme Court prec-

edent and scrutinize the meaning of the Citizenship Clause’s language

on a clean slate, and even if it were to agree with Defendants that Wong

Kim Ark erred in interpreting the Fourteenth Amendment to embody jus

soli, the States still would prevail under 8 U.S.C. §1401(a). See Defend-

ants’ Add. 24 (Op. 19) (acknowledging same).



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     Although Defendants claim that Plaintiffs’ “statutory claim … fails

for the same reason” as their constitutional claim (Br. 43–44), they ignore

their own concession that, for at least eight decades preceding the Order,

the executive branch understood the Citizenship Clause consistently

with Wong Kim Ark’s exposition. See JA119 (counsel for the Department

of Justice conceding that “at least back to World War II, if not earlier,”

the Executive Branch recognized the citizenship of U.S.-born children,

even if their parents are undocumented or have temporary legal status).

And because statutes are interpreted consistent with the “public meaning

of the statute’s language at the time of the law’s adoption,” Bostock v.

Clayton Cnty., 590 U.S. 644, 659 (2020), the relevant time frame for in-

terpreting 8 U.S.C. §1401(a) is 1940, when Congress codified the lan-

guage of the Citizenship Clause, essentially unchanged, into the U.S.

Code, see Nationality Act of 1940, ch. 876, § 201, 54 Stat. 1137, 1138.

     By the mid-twentieth century—as Defendants concede, JA119—

Wong Kim Ark’s interpretation of the Citizenship Clause was both well-

established and understood to guarantee citizenship to everyone born on

United States soil, excluding only the children of tribal members, foreign

diplomats, and hostile occupants. See Lamar, Archer & Cofrin, LLP v.



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Appling, 584 U.S. 709, 721–22 (2018) (presuming the enacting Congress

is “aware of the longstanding judicial interpretation of [a] phrase” that it

codifies “and intend[s] for it to retain its established meaning”); United

States v. Place, 693 F.3d 219, 229 (1st Cir. 2012). Indeed, when a member

of Congress inquired whether the bill that became the 1940 Act could be

amended to deny citizenship to persons living abroad “who happen to

have been born here” to “alien parents” and departed the country “in

early infancy” to be “brought up in the countries of their parents,” all

agreed that “it is not a matter we have any control over” because “no one

proposed to change the Constitutional provisions.” JA520–21. Their

statute thus made no such change.

     The INA codified Congress’s understanding, informed by the

longstanding Wong Kim Ark decision, that U.S. citizenship is the right of

everyone born on United States soil, excluding only the children of for-

eign diplomats and hostile occupants (Congress having statutorily ex-

tended birthright citizenship to the children of tribal members sixteen

years prior). The States thus succeed in showing that the Order violates

8 U.S.C. § 1401(a) as well.




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     B.    The district court properly exercised its discretion in
           determining that the equities support relief.

     Beyond the fact that the Order patently violates the Citizenship

Clause and 8 U.S.C. § 1401(a), the district court correctly determined

that the remaining equitable factors—irreparable harm, balance of the

equities, and public interest, Winter, 555 U.S. at 19–20—powerfully favor

preliminary relief. See Defendants’ Add. 31–32 (Op. 26–27).

     The district court correctly held that Defendants would not suffer

any harm from a preliminary injunction in this case, because the Order

“do[es] no more than maintain a status quo that has been in place for well

over a century.” Id. at 32 (Op. 27). In contending otherwise (Br. 57–58),

Defendants recycle arguments already rejected by this Court and devoid

of record support. They claim a court cannot properly enjoin implemen-

tation of a President’s executive order, ignoring that the sole precedent

on which they rely, see INS v. Legalization Assistance Project of the L.A.

Cnty. Fed’n of Labor, 510 U.S. 1301, 1305–06 (1993) (O’Connor, J., in

chambers), did not in fact question the ability of a court to restrain un-

constitutional executive conduct if it has Article III jurisdiction over the

case. See New Jersey, 131 F.4th at 40–41 (at the stay pending appeal

stage, rejecting Defendants’ reliance on this case for that reason).


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     Defendants’ remaining complaints are unavailing. Defendants say

(Br. 58) that implementation of the Order is necessary to remove the

promise of birthright citizenship as an “incentive[] to unlawful immigra-

tion” or to manage a “crisis at the southern border,” but they continue to

identify no evidence suggesting that birthright citizenship drives unlaw-

ful entry or is linked to any border crisis. Lacking any evidentiary sup-

port for these alleged rationales,10 Defendants resort to citing other im-

migration-related orders which are not at issue here and make no men-

tion of birthright citizenship. See id. This Court already found these

arguments uncompelling, see New Jersey, 131 F.4th at 40–41, and De-

fendants provide no reason for this Court to depart from that conclusion

now, see Comcast of Me./N.H., 988 F.3d 607, 612 (1st Cir. 2021).

     In sharp contrast, the record shows that allowing the Order to take

effect would impose harms on Plaintiffs that would be both “significant”

and “irreparable.” Defendants’ Add. 31 (Op. 26). Implementation of the



  10 Defendants cite amicus briefs hoping to fill those gaps.  See Br. 58.
But amici present no evidence that birthright citizenship has an impact
on unauthorized immigration rates. And while some amici claim birth-
right citizenship enables “birth tourism” schemes, as the federal prosecu-
tions they point to show, id. at 35, these schemes are already unlawful
under existing federal law. See 22 C.F.R. § 41.31(b)(2)(i).

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Order would dramatically alter the longstanding status quo—disrupting

“settled law and practice spanning more than a dozen decades,” id.—and

would force Plaintiffs imminently to confront administrative challenges,

incurring costs they could never recover. Plaintiffs would lose federal

funding for providing critical services to children, see supra, pp. 14–19,

would lose money from the moment of the child’s birth given the foregone

EAB dollars, supra, p. 17, and would incur costs even before a baby is

born undertaking resource intensive alterations to their eligibility verifi-

cation systems for these federal programs, see supra, pp. 18–19.

     Finally, the impact on the public interest is stark and unrebutted,

as the Order would render thousands of children deportable on birth and

at risk of statelessness. See Defendants’ Add. 31 (Op. 26). As this Court

already held, “the public has a substantial interest in ensuring that those

entitled to be recognized as U.S. citizens under the criteria on which of-

ficials at all levels of government have long relied are not unlawfully de-

prived of that recognition.” New Jersey, 131 F.4th at 41.

     In short, the equitable calculus here is entirely one-sided. The dis-

trict court acted well within its discretion, see eBay Inc. v. MercExchange,




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LLC, 547 U.S. 388, 391 (2006), in recognizing that the “scales tip deci-

sively toward” granting preliminary relief. Defendants’ Add. 32 (Op. 27).

III. The district court did not abuse its discretion in granting
     preliminary relief, including on a nationwide basis.

      This Court should reject Defendants’ request (Br. 53–55) to hold

that the district court abused its discretion in fashioning nationwide re-

lief. This Court reviews decisions regarding the scope of relief “for abuse

of discretion.” DraftKings Inc. v. Hermalyn, 118 F.4th 416, 423 (1st Cir.

2024). Here, the court acted well within its discretion in finding nation-

wide relief was justified to “provid[e] complete relief” to Plaintiffs. De-

fendants’ Add. 34 (Op. 29).

      The record amply supports the district court’s conclusion. Below,

Plaintiffs submitted multiple declarations—unrebutted by Defendants,

and credited by the district court, id. at 30 (Op. 25)—that confirmed

Plaintiffs would suffer continued pocketbook injury if children born out-

side of their borders were denied citizenship pursuant to the Order, id.

at 34 (Op. 29). Because such children may reside or later move into Plain-

tiffs’ jurisdictions, Plaintiffs’ agencies would all still have to redesign ben-

efits eligibility verification systems to determine where each child en-

rolled in their benefits programs is born and whether they are eligible


                                      64
citizens if born out-of-state. See, e.g., JA248–50 (¶¶30–36); JA274–75

(¶¶23–25); see also, e.g., 42 U.S.C. § 1320b–7(a) (requiring States who

administer federally funded benefits to operate “eligibility verification

system[s]”). And when Plaintiffs provide services to children who are in-

eligible for federally-funded benefits because their out-of-state birth was

subject to the Order, they would not receive federal reimbursements to

which they otherwise would be entitled. See, e.g., JA247, 248 (¶¶26, 29);

JA265–66 (¶¶21–24). A court order that applies only to children born in

Plaintiffs’ jurisdictions would thus fail to fully remedy their injuries;

thus, the district court appropriately fashioned nationwide relief. De-

fendants’ Add. 34 (Op. 29).

     Defendants’ argument that the district court abused its discretion

because narrower, alternative injunctions are conceivable fails for two

independent reasons.

     First, Defendants forfeited the objection by failing to raise these al-

ternatives below. Defendants now propose (Br. 54–55) that a baby’s citi-

zenship status could “turn on” when it enters Plaintiffs’ jurisdictions—or

at least “turn on” for purposes of the benefits Plaintiffs administer. But

as this Court already held, Defendants forfeited that argument because



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they never presented it to the district court, and thus the district court

cannot have abused its discretion in failing to adopt their new proposals.

See New Jersey, 131 F.4th at 42–43; see also Philip Morris, Inc. v. Harsh-

barger, 159 F.3d 670, 680 (1st Cir. 1998) (holding defendants “forfeited

the opportunity to obtain consideration of whether the preliminary in-

junction, as framed, is overbroad” where they never proposed narrower

alternative below). That determination “continue[s] to govern” at this

“subsequent stage[] in the same case,” where there has been no further

factual development and the scope of relief question is the same, and it is

therefore dispositive. Naser Jewelers, Inc. v. City of Concord, 538 F.3d

17, 20 (1st Cir. 2008); Comcast of Me./N.H., Inc., 988 F.3d at 612.

     This forfeiture is not a mere technicality. After all, district courts

are “uniquely placed” to determine the relevant facts and “tailor injunc-

tive relief” thereto. DraftKings, 118 F.4th at 423. By failing to present

their proposed alternative injunctions to the district court, Defendants

have deprived this Court of the benefit of a lower court’s initial determi-

nation, based on adequate factual development and usual adversarial

testing, as to whether these proposals are viable alternatives that would

in fact avert the Plaintiffs’ injuries while this litigation runs its course.



                                     66
Indeed, Defendants’ claims—which would require American citizenship

to vary across state lines for the first time since the Civil War—surely

requires at least some testing to assess workability.

     Second, forfeiture aside, Defendants’ proposed alternatives are not

practically or legally workable on their face, and would instead impose

additional harms on both the Plaintiffs and on third parties. See Winter,

555 U.S. at 20 (asking about harms both to the parties and to the public).

The upshot of Defendants’ alternatives is clear: an unprecedented situa-

tion in which a child’s American citizenship would vary depending on the

State in which she is present or the purpose for which her citizenship is

assessed—raising serious questions of administrability and risking chaos

on the ground. To illustrate, consider a Covered Child born in New

Hampshire who moves to Massachusetts after birth. That child is born

without lawful status and subject to deportation; she will not be assigned

an SSN at birth; and if her parents seek to obtain Medicaid or other fed-

erally-funded social services for her in New Hampshire, they will be told

the child lacks the citizenship or immigration status necessary to qualify.

     That the child was so treated in New Hampshire results in numer-

ous harms to Massachusetts when her family relocates there. Consider



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that federal law requires, as a condition on a State’s receipt of CHIP

funds, that the State conduct targeted outreach to “families of children

likely to be eligible for [CHIP]” and help them to enroll. 42 U.S.C. §

1397bb(c)(1); see id. § 1397bb(a)(3), (6); 42 U.S.C. § 1397ff(d)(1). Under

Defendants’ proposed injunctions, this outreach will be especially diffi-

cult with respect to families of Covered Children born outside of the

Plaintiffs’ jurisdictions, who will have been told at birth they are not cit-

izens and are ineligible for these benefits.

     Further, setting aside the new obstacles Defendants’ injunctions

impose on Plaintiffs’ outreach obligations, their proposals introduce ad-

ministrative burdens into the benefits enrollment process. Federal law

requires States to administer Medicaid, TANF, and SNAP benefits and

to operate eligibility verification systems for these programs. 42 U.S.C.

§ 1320b-7(a), (b)(1), (b)(2), (b)(4). As part of their verification processes,

States must “require … that each applicant for or recipient of benefits …

furnish to the State his social security account number,” which is used,

among other things, to verify the applicants’ submissions and prevent

duplication of benefits. Id. § 1320b-7(a)(1); see 7 U.S.C. 2025(e); 7 C.F.R.

§ 272.4(e)(1). Yet under Defendants’ proposals, children who otherwise



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would have been assigned an SSN at birth through EAB will arrive in

Plaintiffs’ jurisdictions without SSNs. When they seek Medicaid, TANF,

or SNAP benefits, the States will be unable to fully process those appli-

cations until their families procure SSNs for these children, and must

expend resources assisting families in this procurement. See, e.g., 42

C.F.R. § 435.910(e)(1).

     Had Defendants raised their proposed alternatives below, the dis-

trict court could have considered the factual and administrative compli-

cations they raise, and evaluated the proper scope of equitable relief, duly

considering “what is necessary, what is fair, and what is workable.”

North Carolina v. Covington, 581 U.S. 486, 488 (2017). The parties and

the court would have been able to explore whether, under this proposal,

a baby’s citizenship would turn on when she crosses state lines—and thus

whether (for instance) an ICE removal proceeding that had already be-

gun would now have to stop at the state border. And the parties and

court would have been able to explore whether, under this proposal, citi-

zenship could turn back “off” when someone leaves the Plaintiffs States—

meaning that ICE removal proceeding could start again. But because

Defendants failed to do so, and thus provided no answers to any of the



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above questions, they cannot complain to this Court that a narrower al-

ternative was available but refused. This Court should reject Defend-

ants’ argument that the district court abused its discretion in fashioning

nationwide relief.

                            CONCLUSION

     The Court should affirm the preliminary injunction.




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May 21, 2025                          Respectfully submitted.

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                 CERTIFICATE OF COMPLIANCE

      On May 16, 2025, this Court granted Appellees’ motion to file an
oversized principal brief containing up to 15,000 words. This brief com-
plies with that limitation because, excluding the parts of the document
exempted by Federal Rule of Appellate Procedure 32(f), it contains 14,416
words.

     This brief complies with the typeface requirements of Rule 32(a)(5)
and the type-style requirements of Rule 32(a)(6) because it has been pre-
pared using Microsoft Word in Century Schoolbook, a proportionally
spaced typeface.

May 21, 2025                           /s/ Viviana Hanley
                                       Deputy Attorney General
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TREATISE                ON           CITIZENSHIP ,
        BY BIRTH    AND BY NATURALIZATION           ,




                   WITH REFERENCE    TO THE




  LAW OF NATIONS , ROMAN CIVIL LAW ,

LAW OF THE UNITED                  STATES      OF AMERICA ,
                           AND THE


                LAW OF FRANCE ;

 INCLUDING PROVISIONS IN THE FEDERAL CONSTITUTION , AND IN
     THE SEVERAL STATE CONSTITUTIONS , IN RESPECT OF
          CITIZENSHIP ; TOGETHER WITH DECISIONS
              THEREON OF    THE FEDERAL       AND
                      STATE    COURTS .




                              BY

          ALEXANDER           PORTER MORSE ,
                     OF WASHINGTON , D.C.




                      BOSTON :
         LITTLE , BROWN , AND COMPANY .
                           1881.




                       Add. 001
248                   A TREATISE          ON       CITIZENSHIP .

United States without being a citizen of any state.1 Women
may be citizens .  This section does not confer citizenship
upon persons of foreign birth .    The words ' subject to the
jurisdiction thereof ' exclude the children of foreigners tran-
siently within the United States , as ministers , consuls , or
subjects of a foreign nation . This amendment does not in-
clude Indians and others not born in and subject to the juris-
diction of the United States ; 5 but an Indian , if taxed , after
tribal relations have been abandoned , is a citizen .   Colored
persons , equally with whites , are citizens ; but an escaped
slave , resident in Canada , or his children , are not citizens.8
This section recognizes the difference between citizens of the
United States and citizens of the state .   The main purpose
of this section was to establish the citizenship of the negro.10
This clause applies only to citizens removing from one state
to another.11 The purpose of this amendment was to secure
to the colored race in the South the benefit of the freedom
previously                       Privileges and immunities of
               accorded to them . 12
citizens include such as are derived from , or recognized by ,
the Constitution ,13 and are not identical with those referred
to in Sect . 2 of         Art . 4.14 This amendment                adds nothing
   1 Slaughter House Cases , 16 Wall . 74 ; United States         v . Cruikshank , 92
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  10 Slaughter House Cases , 16 Wall . 36 ; Frasher v. State , 3 Tex . Ct . App .
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  11 Ex parte Hobbs , 1 Woods , 542 ; Live Stock , etc. Asso . v. Crescent City ,
1 Abb . U. S. 397 .

  12 Slaughter House Cases , 16 Wall . 71 .
  13 State v . McCann , 21 Ohio St. 198 .
  14 Slaughter House Cases , 16 Wall . 75.         The meaning of " privileges " in
                                                         its




                                                                                  its




art. 4, sect . 2 (1 ) is such   as each state gave to      own citizens    while
                                                                        ;




                           Add. 002
                                              THE


        LAW OF NATIONS;
                                                 OR




                                          APPLIED TO


                        THE CONDUCT AND AFFAIRS
                                                OF


      NATIONS AND SOVEREIGNS .


                                                •
                                    FROM THE FRENCH
                                                OF

                      MONSIEUR DE V A TTEL .

                                                •
Nihil est enim iIli prmeipi Deo, qui omnem hune mundum regit, quod quid em in terri. fiat,
     acceptius, quam concilia ecetusque homiuum jure sociuti, qUill civitates appellantur."...,....
     ClcEa. SOMN. SqPION. REG. ED. t. IV, 422.




                              SIXTH AMERICAN EDITION,
                                              FROM

                                       a New IDrtiolt, .
                                               BY

                       JOSEPH CHITTY,                               ESQ.
                                    BARRISTER AT .LAW.




                                   PHILADELPHIA:
  '1'. &      J. W. JOHNSON, LAW BOOKSELLERS,
                       SL'CCESSORS TO NICKLIN & JOHNSON.
                                   NO.5, MINOR STREET.

                                            1844.


                                        Add. 003
                           OF· OUR NATIVE COUNTRY, &C.                                          101

 cal laws, or treaties make no distinction between them, every thing said
 of the territory of a nation, must. also extend to its colonies.




                                       CHAP. XIX.
 OF OUR NATIVE           COUNTRY,' AND SEVERAL· THINGS                         THAT      RELATE
                                    TO IT.

     § 211. What is our country.                          These must be obeyed.
     § 212. Citizens and natives.                      § 223. Cases in which!!, citizen has a right
     § 213. Inhabitants.                           to quit his country.        .
     § 214. Natnralization. .                          § 224. Emigrants.
    § 215. Children of citizens. bom in II. for­     . § 225. Sources of their right.
 eign country.                                         § 226. If the sovereign infringes their right,
   § 216. Children hom at sea.                     he injures them.
    § 217. Children born in the armies of the          § 227. Supplicants.
state, or in the house of its minister at a for.       § 228. Exile and banishment.
eign court.                                            § 229. The exile and banished man have
   § 218. Settlement.                              a right to live somewhere.
   § 219. Vagrants.                                    § 230. Nature of this right.
   § 220. Whether 110 person may quit his              § 231. Duty of nations towards them. .
country.          .            .                       § 232. A nation cannot punish thelll for
   § 221. How a person may absent himself          faults committed out of its territories.
for II lime.                                           § 233. Except such as affect the common
   § 222. Variation of the political law! in       safety of mankind.       .
this respect. .                               .

      § 21 L THE whole of the countries possessed by a nation and subject
 to its laws, forms, as we have already said, its t€rritory, and is the com­
 mon country of all the individuals of the nation. "Ve have been oblig­
 ed to anticipate the definition of ihe term, native country (§ 122), be­
 cause our subject led us to treat of the love of our country-a virtue so
 excellent and so necessary in n state. Supposing, then, this definition
 already known, it remains th'lt we should explain several things that
 ha.ve a rela~ion to this subject, and answer the questions that naturally
 arISe from It.                                                      .
    .§ 212. The citizens are the. members of the civil society; bound. to
 thiS society by certain duties, and subject to it!! authority, they equally
participate in its advantages. The natives, or natural-born citizens, are
 those born in the country, of parents who are citizens. As the society
c~~not exist and perpetuate itself otherwise than by the children of the
clttzens, those children naturally follow the condition of their fathers, and
succeed to all their rights. The society is supposed to desire this, in
consequence of what it owes to its own preservation; and it is presum·
ed, as matter of course, that each citizen, on entering into society, Te­
serves to his children the right of becoming members of it. The country
of   .the fathers. is therefore that of the children; and these become true
cltl~ens ~erely by their tacit consent. 'Ve shall soon see whe.the~, 011
their cooling to the years of discretion, they may renounce their right,
and what they owe to the society in which they were born. I say, that,



                                       Add. 004
101                     OF OUR NATIVE COUN,TRY, &C.


in order to be of the country, it is necessary that a person be born of a
father who is a citizen; for, if he is born there of a foreigner, it will be
only the place of his birth, and not his country.                      '
   § 213. *The inhabitants, as distinguished from citizens, are foreigner~
 who are permitted to settle and stay in the country. Bound to the soci:
ety by the residence, they are subject to the laws of the ,state while they
 reside in it; and they are obliged to defend it, because it grants them
 protection, though they do not participate in all the rights of citizens.
 They enjoy only the advantages which the law or custom gives them.
 The perpetual inhabitants are those who have received the, right of per.
 petual residence. These are a kind of citizens' of an inferior order, and
 are united to the society without participating in all its advantages. Their
children follow the condition of their fathers; and,' as the state has given
 to these tIle right of perpetual residence, their right pass,esto their pas­
wri~.                                                        .
   § 214. A nation, or the sovereign who represehts it, may grant to a
foreigner the quality of citizen, by admitting him into . .the body of the
political society. This is called naturalization( 58). There are some
states in which the sovereign cannot grant to a foreigner all the rights of
citizens,-for example, that of holding public offices-and where, con­
sequently, he has the power of granting only an imperfect naturalization.
It is here a regulation of the fllndamentallaw, which limits the power of
the prince. In other states, as in England and Poland, the prince can­
not naturalize a single person, without the concurrence of the nation rep­
resented by its deputies. Finally, there arEl states, as, for instance,
England r where the single circumstance of being born in the country,nat­
uralizes the children of a foreigner.                  .
   § 215. It is asked whether the children born of citizens in a foreign
country are cItizens? The laws have decided this question .in several
countl'ies, and their regulations must be followed(59). By the law of
nalUl'e alone, children follow the condition of their fathers, and enter into
all their rights (§ .212); the place of birth produces no change in this
particular, and cannot, of itself, furnish any reason for taking from achild
what nature has given him; I say" of itself," for, civil or political laws
may, for particular reasons, ordain otherwise. But I suppose that the
father has not entirely quitted his country in order to settle elsewhere.
If he has fixed h:s abode in a foreign country he is 'hecome a member of
another society, at least as it perpetual inhabi'tant; and his children will
 be members of it also.                  '                       .
    § 216. As to children born at sea, if they are born in those parts of it
that are possessed by their nation, they are born in the country: if it is
 on the open sea, there is no reason to make a distinction between them

 . <?8) .See fully in general, and of Natural- ralized in America,' was holden to be entitled
 IZatlOn ill Great Britain in particular 1 Chit­ to traUe as an American subject to .the East
 ty's Commercial Law, 123 to 131'; 1 BIa. Indies, 8, Term. Rep. 39, 43, 45; and see
 Com. 369, Bac. Ab. Aliens. A naturaliza.. Reeves, 2nd ed. 328,330, and 37 Geo.3, c.
 tion ina foreign country without licence ,97.-C.
 will not ?ischarge a naturai-born subject fro~     (59) See 1 Chitty's Com~ercial Law,
 his allegiance, 2 Chalmer's Col. Opin. 363. 114, n. 1; 115, n. 1.
 But a natural-born subject of En"lnnd natu-'
      (lt102J                    .,    ,



                                      Add. 005
Add. 006
Add. 007
Add. 008
                                                                 AN


                AMERICAN                                          DICTIONARY
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                                                         CONTAINING


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                   AND IMPROVEMENTS OF THE SECOND EDITION IN TWO VOLUMES ROYAL OCTAVO;


                                               TO     WHICH       IS     PREFIXED



                      AN        INTRODUCTORY                               DISSERTATION
     ON THE ORIGIN, HISTORY, AND CONNECTION, OF THE LANGUAGES OF WESTERN ASIA AND EUROPE, WITH
                      AN EXPLANXIION OF THE PRINCIPLES ON WHICH LANGUAGES ARE FORMED.




                                 BY NOAH WEBSTER ) LL .D.,
                                                      • •7
  Member of the American Philosophical Society in Philadelphia; Fellow of the American Academy of Arts and Sciences in Massachusetts;
       Member of the Connecticut Academy of Arts and Sciences; Fellow of the Royal Society of Northern Antiquaries in Copenhagen;
              Member of the Connecticut Historical Society; Corresponding Member of the Historical Societies in Massachusetts,
                   New York, and Georgia; of the Academy of Medicine in Philadelphia, and of the Columbian Institute
                                 in Washington; and Honorary Member of the Michigan Historical Society.




                                      GENERAL SUBJECTS OF THIS WORK.
 I.—ETYMOLOGIES OF ENGLISH WORDS, DEDUCED FROM AN EXAMINATION AND COMPARISON OE' WORDS OF CORRESPONDING ELE-
      MENTS IN TWENTY LANGUAGES OF ASIA AND EUROPE.
II.—THE TRUE ORTHOGRAPHY OF WORDS, AS CORRECTED BY THEIR ETYMOLOGIES.
IIL—PRONUNCIATION EXHIBITED AND MADE OBVIOUS BY THE DIVISION OF WORDS INTO SYLLABLES, BY ACCENTUATION, BY
      MARKING THE SOUNDS OF THE ACCENTED VOWELS, WIIEN NECESSARY, OR BY GENERAL RULES.
IV.—ACCURATE AND DISCRIMINATING DEFINITIONS, ILLUSTRATED, WHEN DOUBTFUL OR OBSCURE, BY EXAMPLES OF THEIR USE ,
      SELECTED FROM RESPECTABLE AUTHORS, OR BY FAMILIAR PHRASES OF UNDISPUTED AUTHORITY.




                                 REVISED                   AND            ENLARGED,

                                          BY CHAUNCEY A. GOODRICH,
                                               PROFESSOR    IN   YALE    COLLEGE.     ._••

                                                                                    ••••


    WITH PRONOUNCING VOCABULARIES OF SCRIPTURE, CLASSICA, AND GEOGRAPHICAL NAMES.

                                            TO   WHICH        ARE       NOW    ADDED



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               PRONOUNCING TABLE OF NAMES OF DISTINGUISHED PERSONS, ABBREVIATIONS, LATIN,
                                       FRENCH, ITALIAN, AND SPANISH PHRASES, ETC.




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                                                                 1860.



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                                                                                      Ana




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                        Add. 010
r--                      ALL                                                               ALL                                                          ALL
                                        Comprehending all        ALL-JUGGING, a. Judging all; possessing t     Rhe
                                                                                                                 o wsr-
                                                                                                                        AL-LAN-TOIS',           N.     [Gr. akNac, a sausage, and
        _
        ,co m_plIE-1 1E-N 'SICE 'a.            Gianville.          ereign right of judging.                             AL-LAN-TOID', j sisloc, form.]
  ALI
  ALtttrizs'os_cg_tyroG, a.      Hiding or concealing all.       ALL-JUST', a. Perfectly just.
                                                                                                                             A thin membrane, situated between the chorion
                                                 Spenser.        ALL-KIND , a. Perfectly kind or benevolent.
                                                                                                                          and amnion in quadrupeds and forming one of the
                              (-konk/er-,) a.That subdues        ALL-KNOW/LNG, a.          Having all knowledge; om-
                                                                                                                          membranes which invest the fetus in those animals.
                                                  Milton.          niscient.                              Atterbury.
                                                                 ALL-LFCENS-ED, a. Licensed to every thing. Shalt.                                                            Ed. Encyc.
                                                 all-know-                                                              AULA-TRATE, v. t. [L. altatro.]
 AL31L1. -CON'SCIOUS, a.       Conscious of all ;                ALL-LOVING, a. Of infinite love.              More.
                                                                                                                             To bark, as adog. [Not used.]                        Slab/lea.
      n
      ig. os_,,,m _
       l,e        u ssiNG, a,       Constraining all.            ALL-MAK/ING, a. Making or creating all; omnific. AL-LAY', v. t. t[Sax. afecgan, alegan, to lay, to set, to
 ht.                                              Drayton.                                                   Dryden.      depress, Ire/an, to lay, to cast or strike down; G. le-
                     -G a. That consumes or devours              ALL-MA-TO-     WING, a Maturing all things. dem          gen, D. leggen, to lay; Gr. Anyni. The Fr. allies-, to
     L_CON-Seg IN '                                  Pope.                                                                alloy, Sp. hgar, seems to be directly from the L. lips,
 bl-
   a.           -tyrneG, a. Controlling all. Everett.            ALL-MER/CI-FUL, a. Of perfect mercy or compas-           to bind; but this may be the same word differently
 ALL-CON,-T,
          L; EGO ,a.   Dann .,    .attempt every thing.
                             ,"i' t                                sion.                                                  applied, that is, to set, to fix, to make fast, to unite.
                                                   J02.011.      ALL-MUR ,DER-ING, a. Killing or destroying every         Allay and alloy were formerly used indifferently; but
 ALL-DAR _T
          _    .,, NG       Das i  gl ingoll things.               thing.                                  Fanshaw.
 Au_nr,_s  GRNO
                                                                                                                          Ihave recognized an entire distinction between them,
 AWDE-t'l        VOG, a. Destroying every thing.                 ALL-ft-BE/DI-ENT, a. Entirely obedient. Crashaw.         applying alloy to metals.]
                                                 Fans/saw.       ALL-0-BEVING, a. [See OBEY.] Receiving obedi-              1. To make quiet; to pacify or appease; as to ad-
    r_DE     0-TA-TING, a. Wasting every thing.                    ence from all.
                                                                                                                          /ay the tumult of the passions, or to allay civil corn-
                     -Cr a.  Eating or consumin p    g°p
                                                       ane..     ALL-OH-LEVI-OHS, a. Causing total oblivion. Shak.       :motions.
 .ALL-DE-VOUR           ,                                        ALL-OH-SC -   OWING, a. Obscuring every thins,.
                                                                                                                            2. To abate, mitigate, subdue, or destroy; as, to al-
                                                thing.                                                         king.      lay grief or pain.
 ALL-DLIP3ILNG, a.      Obscuring every
                                                    Marston.     ALL-PAPITENT, a. Enduring every thing without
 ALL-DI-RECT,LNG,        a.     Directing all;       governing     murmurs.                                 P11/ford.       Pentodes, who soften and allay the bitterness of adversity.
                                                                 ALL-PENT-TRA-TING, a. Penetrating every thing.                                                                      Rawle.
    it things. fiN'ING, a. Discerning every thing.                                                          Stafford.
                                                                                                                            3. To obtund or repress, as acrimony; as, to allay
 ..tts
    wIr_c o    E frEg_LNG, a. Discove4ng or disclosing           ALL-PERTECT, a. Completely perfect; having all           the acrid qualities of asubstance.
    , vary thing._                            More.                perfection.                                              4. Formerly, to reduce the purity of; as, to allay
 ALL-Dh4-GRATED, a. Completely disgraced.                        ALL-PERTECT-NESS, n.           The perfection of the
                                                                                                                          metals. But in this sense alloy is now exclusively
                                               Shak.               whole; entire perfection.                   More.      used. [See ALLOY.]
 ulj,DIS-PENS'ING, a. Dispensing all thlytLaf-                   ALL-PER-YAWING, a. Pervading every place.              AL-LAYT n. Fornzerly, a baser metal mixed with a
                                                                                                                                    finer; but in this sense it is now written ALLOY,
 ALittgAtPceLP,:atim or Penell
                             yssrx1
                                  Cellent.
                                    •         Howell.               ALL-PIERTING, a. Piercing every thing. Marston.                 which see.
 ALL-M-VIN0INGa; a.SupFroer
                          etelling all thingFs
                          m                  a.nshaw.               ALL-PO/TENT, a. Having all power.                Irving.           2. That which allays, or abates the predominant
                                                                    ALL-POW/ER-YUL,. a. Almighty; omnipotent.                       qualities; as, the allay of colors.         .hrewton.
ALL-DREAD'ED, a. Dreaded by all.                           Shak.                                                       Swift.          Also, abatement; diminution by means of some
ALL-EF-FLCATIOUS, a. Having all effica                 jc vy;rett.  ALL-PRAIS'ED, a. Praised by all.                   Shalt.
                                                                                                                                   mixture; as, joy without allay. But alloy is now
                                                                    ALL-PRESTNT, a. Omnipresent.                                    more generally used.
.ALL-EF-FIPCIENT, a. Of perfect or unlimited effi- ALL-PRO-TECT/ING, a. Furnishing complete pro- AL-LAY/ED, pp. Layed at rest; quieted; tranquil-
  car) or efficiency.                                                 tection.                                                     ized ;abated; [reduced by mixture. Ohs.]
ALL-EL/0-QUENT, a. Eloquent in the highest de- ALL-RUL/ING, a. Governing all things.                                 Milton.     AL-LAY/ER, n. He or that which allays.
   Free.                                                   Pope.    ALL-SA-GATIOUS, a. Having all sagacity; of per- A.L-LAVING, ppr. Quieting; reducing to tranquilli-
ALL-EM-BRATING, a. Embracing all things.                              fect discernment.
                                                                                                                                    ty; abating; reducing by mixture. [Ohs.]
                                                     Cs-as/law.     ALL-SAINTS'-DAY, n. The first day of November, AL-LAVMENT, n. The act of quieting, or a state of
ALL-END'ING, a. Putting an end to all things.                         called, also, All-hallows; a feast in honor of all the       tranquillity; a state of rest after disturbance; that
                                                           Shak.      saints.
                                                                                                                                   which allays; abatement; ease; as, the allayment of
ALL-EN-LIGHT/EN-ENG, a. Enlightening all things. ALL-SANC/TE-FY-ING, a.                              Sanctifying the whole.        grief.                                          Shale.
                                                         Cotton.
                                                                                                                                AL/LE, (aPly,) n. The little auk, or black and white
ALL-EN-RAGTD, a. Highly enraged.                           Hall.    ALL-SAVING, a. Saving all.                       Selld
                                                                                                                        Fecnt
                                                                                                                           a
                                                                                                                                   diver.
ALL-ES-SEN'TIAL, is. Wholly essential. Everett.                     ALL-SEARCIPING, (-serch/ing,) a. Pervading and AL-LECT-A ,TION,n. Enticement; allurement. [Not
ALL-FLAWING, a. Flaming in all directions.                            searching every thing.                          South.       used.]                                          Coles.
                                                   Beaumont.        ALL-SEE'ING, a. Seeing every thing.            Dryden.
ALL-FOOLS'-DAY, n. The first of April.                                                                                          AL-LECTHVE, a. Alluring. [Not used.] Chaucer.
                                                                    ALL-SEER', n. One that sees every thing.           Shale.   AL-LECT/IVE, n. Allurement. [Not used.]
ALL-FOR-GIWING, a. Forgiving or pardoning all.                      ALL-SHAICING, a. Shaking all things.               Shale.
                                                      Dryden.                                                                                                                      Eliot.
                                                                    ALL-SHROUD/ING, a.            Shrouding; covering all
ALL-POURS' n. [all and four.]                                                                                                   AL-LEDGE ,. See ALLEGE.             [This spelling, corre-
                                                                      things.
                                                                                                                                   sponding to abridge, was once the prevailing one,
     A game at cards, played by two or four persons; ALL-SHUN/NED, a. Shunned by all.                                  Shak.
  so called from the four chances of which it consists, ALL-SOULS'-DAY, n. The second day of Novem-                                and would still be preferable.]
  via. High, Low, Jack, and the Game.                                                                                           AL-LE-GA/NE-AN, a. Pertaining to the mountains
                                                                      ber; afeast or solemnity held by the Roman Catholic          called  Allegany, or Alleghenny.
      To go on all fours, is to move or walk on four legs,            church, to supplicate for the souls of the faithful de- AL/LE-GA-NY, n. The chief ridge of the great chains
  or on the two legs and two arms.                                    ceased.
ALL-GIV'ER, s. The giver of all things. Milton.                                                                                    of   mountains   which run from N. East to S. West,
                                                                   ALL'SPICE, n. The berry of the pimento, a tree of
ALL-GLO'HI-OL`S, a. Glorious to the full extent.                                                                                   through the Middle and Southern States of North
                                                                      the West Indies; aspice of a mildly pungent taste,           America •but, more appropriately, the main or un-
ALL-GOOD', a. Completely good.                        Dryden.
                                                                      and agreeably aromatic.      It has been supposed to         broken ridge, which casts all the waters on one side
ALL-GOOD', n. The popular name of the plant Good-                     combine the flavor of cinnamon, nutmegs, and
  Henry, or English Mercury, Chenopodium bonus Hen-                                                                                to the east, and on the other side to the west. This
                                                                     cloves; and hence the name.                                   ridge runs from Pennsylvania to Georgia, and chains
ALL-GRa'CIOLIS, a. Perfectly gracious.                                                              Rico. of Dom. Been.            extend through the United States.
                                                                   ALL-SUB-MIS ,SIVE, a. Wholly submissive.                           This name is given also to the River Ohio, above
.ALL-GUID'ING, a. Guiding or conducting all things.
                                                                   ALL-SUF-Fr/CIEN-CY, n. Complete or infinite abil-
                                                       Sandys.                                                                     its confluence with the Monongahela; but improper-
                                                                     ity.                                              Hall.      ly, as the Indian name of the river to its source is
               excl.     all and Sax. Joel, health.]
     All health; a plirase of salutation, expressing a ALL-SUF-FrCIENT, a. Sufficient to every thing;                              Ohio.
                                                                     infinitely able.                              Hooker.
  wish of all health, or safety, to the person addressed.                                                                       AL-LE-GA/110N, n. Affirmation; positive assertion
ALL-IIAL'LOW,             n. All-Saints-day, the first of ALL-SUF-FP/CIENT, n. The all-sufficient Being;                           or declaration.
ALL-HAI:LOWS, j November; a feast dedicated                          God.                                         Whitlock.           2. That which is affirmed or asserted; that which
  to all the saints in general. [Colloquial.]                      ALL-SUR-ROUND'ING, a. Encompassing the whole.                  is offered as aplea, excuse, or justification.
11.1 .-ILAVLOW-TME, n.               [Tid, in Sax., is time.]      ALL-SUR-VEVING, (-sur-vafing,) a. [See Seaver.]                    3. In ecclesiastical courts, a formal complaint, or
     The time near All-Saints, or November first.                    Surveying every thing.                        Sand go.       declaration of charges.
                                                                   ALL-SUS-TAIN/ING, a. Upholding all things.                   AL-LEGE/ ' v. I. [L. allege, ad and legs, to send ; Fr.
.ALL-HEAL',
ALL-HAPTY,a.a. The     Completely
                            popular triune
                                       happy.of several plants.                                                 Beaumont.         alleguer ;Sp. alegar ;Port. allegar; It. allegare. This
A LL-HEAVING, a.            healing all things.        Selden.     ALL-TELL/ING, a. Telling or divulging every thing.             is only a modified application of the Eng. lay; L. lo-
ALL-HELPTNG, a Assisting all.                           Se/den.                                                       shale.      co, to set, or throw. See Class Lg.]
ALL-HID'LNG, a. *C                    gall things.        Shalt.   ALL-TRIMMPII-ING, a. Triumphant every where
                                                                                                                                      I. To declare; to affirm; to assert; to pronounce
  h          L   LIko adnv .::Eenalt
                                   irety ;completely; as, to         or over all.                                  Janson.
ALL-eatli
        aOny
           li..6
               01-        oo       in
                                                                                                                                  with positiveness; as, to allege afact.
                                                                   ALL-WATCH/ED, a. Watched througliout. Shah.                       2. To produce, as an argument, plea, or excuse;
ALL-11ti'LY, a Corripitely, perfectly holy.                        ALL-WISE', a. Possessed of infinite wisdom. South.             to cite or quote; as, to allege the authority of a
ALL-HON'OR-ED (-on ord,) a. Honored by all.                        ALL-WIT/TED, a. Having all kinds of wit. Jonson.               judge.
ALL-FILTPING                                                       ALL-WOR ,SHIP-ED, (-wur/shipt,) a. Worshiped or AL-LEGE/A-BLE, a. That may be alleged or affirmed.
ALL-PDOL-17,1k6 Hurting all things.                       Shalt,.
                        ,a. Worshiping every thing.                  adored by all.                                 Milton.
                                                                                                                                                                                Brown.
                                                                   ALI --WOR/THY, a. Of infinite worth; of the high- AL-LEG ,ED, pp. or a. Affirmed; asserted, whether
ALL-EL- LD'AIIN-A-TING,                             Gresham.         est woith.
  thing,                            a.   Enlightening every                                                                       as acharge or aplea.
                                                                   AL/LA-GTTE, n.         An impure, brownish variety of
                                                                     man ganese spar.                                Dona.      AL-LEGE ,MENT, ?E. Allegation. [Not in use.]
ALL-1111-Ta-TLNG, a. Imitating every thin g'                                                                                    AL-LEG/ER, n. One who affirms or declares.
                                                                   AL/LAH, n The Arabic name of the Supreme Be- AL-LE ,GI-ANCE, 741' [old Fr., from L. alligo, of ad
ALL-IM-POR'TANT,                                         More.       ing.
  extremely im rt           a. Important above all thin iss ;                                                                     and ligo, to bind. See LIEGE and LEAGUE.]
                                                                   AL'LAN-ITE, a. An ore of the metals cerium and
A LL-IM4sgzsTs/j-trt                                 Everett°.                                                                        The tie or obligation of a subject to his prince or
  .junt.                     tz. Impressive to the utmost.           lanthanum, having apitch-black or brownish color.
                                                                                                                                  government; the duty of fidelity to a king, govern-
ALL-IN-FORW                                                          It was first discovered, as aspecies, by Mr. Allan, of
                                                                                                                                  ment, or state. Every native or citizen owes allegi-
  sr&               LNG, a. Actuating all by vital pow-              Edinburgh.                                      Dana.        ance to the government under which he is born. This
ALI_LN'TER-EST-ING                                    Sandys.      AL-LAN-TO/Ie, a. Pertaining to or contained in the             is called natural or implied allegiance, winch arises
                                                                     allantins.
  est                          ,a. Interesting in the high-                                                                       from the connection of aperson with the society in
                                                                   AL-LAN-TO ,IC AC/ID, n. An acid of animal origin               which he is born ' and his duty to be a faithful su b-
ALL-INWER'PRET-ING, 4. Explaining all things.                        found in the liquor ofth e all anto is of the fetal calf.'
                                                                                                                                  ject, independ ent of any express promise. Express
                                                                     [See ALLANTOIS.1 This is the same aaid which was
                                                      .11filton.                                                                  allegiance,  is Hitt obligation which proceeds from an
                                                                     formerly called amniotic acid.
                                                                                                                                  express promise, or oath of fidelity.

                           TUNE, 131LL, T ITE._An'rGER, VP /CIOUS.—C as K;                           G as J; S as Z; CH as SH; TM as               3 THIS.

                                                       *See Pictucial Rittstraiialts.                  t See   Table of Synonyms.                         35




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           DEPARTMENT OF JUSTICE

U.S, SPANISH TREATY CLAIMS COMMISSION



            FINAL REPORT OF

WILLIAM WALLACE BROWN
             ASSISTANT ATTORNEY -GENERAL




BEING A CONDENSED STATEMENT OF THE WORK DONE ,
THE QUESTIONS CONSIDERED , AND THE MOST IMPOR-
TANT DECISIONS RENDERED , WITH A SCHEDULE OF
THE CLAIMS FILED , THE DISPOSITION OF THE SAME ,
AND THE AWARDS MADE , BY THE SPANISH TREATY
CLAIMS COMMISSION FROM APRIL 10 , 1907 , THE DATE
OF THE SPECIAL REPORT OF HON . WM . E. FULLER ,
ASSISTANT ATTORNEY - GENERAL , TO MAY 2 , 1910 , WHEN
THE COMMISSION EXPIRES BY OPERATION OF LAW




                    WASHINGTON
           GOVERNMENT PRINTING OFFICE

    J                    1910




                  Add. 012
                                                                               APPENDIX                        D.

                                        BRIEF                ON            THE LAW OF CITIZENSHIP .
                                                        By E. S. HUSTON , Assistant Attorney .

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                                                                 III   .


                          CITIZENSHIP                 IN THE INTERNATIONAL                                  SENSE .

   There are but three ways in which citizenship of the United States
may be obtained :
   (1 ) By birth in the United States or to a citizen father ; (2 ) by
naturalization ; and (3 ) by treaty . The latter will receive no con-
sideration in this brief .
   1. By birth .    It is generally stated that all persons born in the
United States are citizens of the United States , but this is not a cor-
rect statement . The clause of the fourteenth amendment on this
subject reads thus :
  All persons born or naturalized in the United States and subject to the jurisdiction
thereof are citizens of the United States and of the State in which they reside .

   The precise meaning of the phrase " and subject to the jurisdiction
thereof " has not been fully determined , though it has been the sub-
ject of consideration on different occasions . The Constitution has
not defined its meaning , and it must be interpreted " in the light of
the common law , the principles and history of which were familiarly
known to the framers of the Constitution . " (United States v . Wong
Kim Ark , 169 U. S. , 649 , 654.)
  In the same case , on page 676 , the court says :
     As appears upon the face of the amendment , as well as from the history of the times ,
this was not intended to impose any new restrictions upon citizenship , or to prevent
any persons from becoming citizens by the fact of birth within the United States who
would thereby have become citizens according to the law existing before its adoption .
It is declaratory in form , and enabling and extending in effect . Its main purpose
was doubtless , as has been often recognized by this court , to establish the citizenship
of free negroes , which had been denied in the opinion delivered by Chief Justice
Taney in Dred Scott v . Sandford (19 How. , 393 ) , and to put it beyond doubt that all
blacks , as well as whites , born or naturalized within the jurisdiction of the United States ,
are citizens of the United States .

        And , again , on page 678 :
   Mr. Justice Miller indeed , while discussing the cause which led to the adoption of
the fourteenth amendment , made this remark : " The phrase ' subject to
                                                                                                                               its




                                                                                        jurisdic-
tion was intended          exclude from its operation children           ministers consuls and
                                   to




                                                                                                       of
        ',




                                                                                                                         ,




                                                                                                                                     ,




             subjects    foreign  States born within the United States          This was wholly
              or




                               of




citizens
                                                                                                                "
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aside from the question         judgment and from the course            reasoning bearing upon
                                         in




                                                                                                   of




that question         was unsupported by any argument              by reference
                                                                                             or
                          It




                                                                                     authorities
                                                                                                                          to




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and that      was not formulated with the same care and exactness as             the case before
                                                                                                                    if
              it




                                                          phrase     apparent   from its classing
                                                                      of




the court had called for an exact definition         the
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foreign ministers and consuls together whereas
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                                                           was then well settled law          has
                                                                           it
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since been recognized           judgment                        which Mr. Justice Miller con-
                                        in




                                                                                    in
                                                            of




                                                this court
                                         , a




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                                              expressly                   diplomatic
                               as




curred that consuls       such and unless               invested with                 character
                                                                                                            a
          ,




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                 their ordinary powers are not considered             intrusted with authority
to in




                   to




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    addition
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    represent their sovereign        its intercourse with foreign States
                                                                                                                    or
                                                                                                                    to




                                                                                   vindicate his
                                                 in




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prerogatives       entitled by the law                     the privileges and immunities
                   of or or




                                                                            to
                                                            of




                                                                                                                                          , of




                                               nations
                   ,




                  public ministers but are subject        the jurisdiction civil and criminal
                                                                           . to




ambassadors
                                                  ,




                                                                                                                ,




of the courts     the country in which they reside
        And yet again on page 679
                               ,




                                                        :




   That neither Mr. Justice Miller nor any     the justices who took part     the decision
                                                                                                                         in
                                                                  of




    the Slaughterhouse cases understood the court                           the view that
                                                                                  of or to




                                                                                                                     to
of




                                                          be committed
                                             ,




all children born     the United States                   subjects    foreign States were
                              in




                                                                 of




                                             citizens
                                                                                                            of




excluded from the operation       the first sentence      the fourteenth amendment
                                                  of




                                                                                                                                          , is
                                                                                                                                      ,




                  unanimous judgment        the court delivered about two years later
                                                             of




manifest from
                       a




while all those judges but Chief Justice Chase were still on the bench        which Chief
                                                                                                                         in
                               ,




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                                                                                                                    ,




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Justice Waite said : " Allegiance and protection are , in this connection      (that is , in
relation to citizenship ) , reciprocal obligations ; the one is compensation for the other ;
allegiance for protection , and protection for allegiance . "
   At common law , with the nomenclature of which the framers of the Constitution
were familiar , it was never doubted that all children born in a country of parents who
were its citizens , became themselves , upon their birth , citizens also ; that is , were
natives , or natural - born citizens , as distinguished from aliens or foreigners . Some
authorities go further and include as citizens children born within the jurisdiction
without reference to the citizenship of their parents . As to this class there have been
doubts , but never as to the first . For the purpose of this case it is not necessary to
solve these doubts . It is sufficient for everything we have now to consider that all
children born of citizen parents , within the jurisdiction , are themselves citizens .
   In Elk v . Wilkins ( 112 U. S. , 94 ) , the court says , on page 102 , refer-
ring to the phrase " and subject to the jurisdiction thereof , "
   The evident meaning of these last words is not merely subject in some respect or
degree to the jurisdiction of the United States , but completely subject to their political
jurisdiction , and owing them direct and immediate allegiance ; and the words relate to
the matter of birth , in the one case , as they do to the matter of naturalization , in the
other .   Persons not thus subject to the jurisdiction of the United States at the time of
birth can not become     so afterwards except by being naturalized individually , as by
proceedings under the naturalization acts , or qualify , as by force of a treaty by which
foreign territory is acquired .
   Indians born within the territorial limits of the United States , members of and owing
immediate allegiance to one of the Indian tribes ( an alien though dependent power ) ,
although in a geographical sense born in the United States , are not more " born in the
United States and subject to the jurisdiction thereof " within the meaning of the first
section of the fourteenth amendment than the children of the subjects of any foreign
government born within the domain of that government , or the children born within
the United States of ambassadors or other public ministers of foreign nations .
   Referring to that decision , the court says , in United States v . Wong
Kim Ark , supra :
  The decision in Elk v . Wilkins concerned only members of the Indian tribes within
the United States and had no tendency to deny citizenship to children born in the
United States of foreign parents of Caucasian , African , or Mongolian descent not in the
diplomatic service of a foreign country .

  And the court then sums up its conclusions on that point as fol-
lows :
  The amendment in clear words , and in manifest intent , includes the children born
within the territory of the United States , of whatever race or color , domiciled within
the United States . Every citizen or subject of another country , while domiciled here ,
is within the allegiance and the protection , and consequently subject to the jurisdic-
tion , of the United States . His allegiance to the United States is direct and immediate
and although but local and temporary , continuing only so long as he remains within our
territory , is yet , in the words of Lord Coke , in Calvin's case , 7 Rep . , 6a : " Strong enough
to make a natural subject , for if he hath issue here , that issue is a natural - born subject . "

   On page 704 the court considers whether Wong Kim Ark had lost
his citizenship , thus acquired by birth , and says :
  Whether any act of himself or of his parents , during his minority , could have the
same effect is at least doubtful , but it would be out of place to pursue that inquiry , in-
asmuch as it is expressly agreed that his residence has always been in the United States ,
and not elsewhere ; that each of his temporary visits to China , the one for some months
when he was 17 years old , and the other for something like a year , about the time of his
coming of age , were made with the evident intention of returning , and were followed
by his actual return to the United States ; and " that said Wong Kim Ark has not ,
either by himself or his parents acting for him , ever renounced his allegiance to the
United States , and that he has never done or committed any act or thing to exclude
him therefrom . "
   The evident intention and the necessary effect of the submission of this case to the
decision of the court , upon the facts agreed to by the parties , were to present for deter-
mination the single question stated at the beginning of this opinion , namely , whether
a child born in the United States of parents of Chinese descent , who , at the time of his




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birth , are subjects of the Empire of China , but have a permanent domicile and resi-
dence in the United States , and are there carrying on business , and are not employed
in any diplomatic or official capacity under the Empire of China , becomes , at the time
of his birth , a citizen of the United States . For the reasons above stated this court is
of the opinion that the question must be answered in the affirmative .
   This case , when limited to its own facts and the law pronounced
thereon , and limited in the same way under the rule laid down by
Chief Justice Marshall in Cohens v . Virginia (6 Wheat . , 264 ) , to wit:
  It is a maxim not to be disregarded , that general expressions , in every opinion , are
to be taken in connection with the case in which those expressions are used . If they
go beyond the case , they may be respected , but ought not to control the judgment in a
subsequent suit when the very point is presented for decision . The reason of this
maxim is obvious . The question actually before the court is investigated with care ,
and considered in its full extent . Other principles which may serve to illustrate it
are considered in their relation to the case decided , but their possible bearing on all
other cases is seldom   completely investigated .   ( Cohens v . Virginia   (1821 ) , 6 Wheat . ,
264 , 399. )

goes no further than to determine that the child born to parents who
are foreigners . but domiciled in the United States and there engaged
in business , is a citizen of the United States .
   The dissenting opinion in the Wong Kim Ark case shows that Mr.
Justice Marshall observed in his lectures on Constitutional Law that :
  If a stranger or traveler passing through or temporarily residing in this country , who
has not himself been naturalized , and who claims to owe no allegiance to our Govern-
ment , has a child born here which goes out of the country with its father , such child is
not a citizen of the United States because it was not subject to its jurisdiction .

   So Mr. Story , in his Conflict of Laws , section 488 :
  Persons who are born in a country are not generally deemed to be citizens of that
country , and reasonable qualification of the rule would seem to be that it should not
apply to children of parents who were in itinere in the country or who were abiding
there for temporary purposes , as for health , or curiosity , or occasional visits . It would
be difficult , however , to assert that in the present state of public law such a qualifi-
cation is universally established .

  This question has been under consideration by the political depart-
ment of the Government , and we cite the following :
  In 1871 Mr. Fish , Secretary of State , wrote to Mr. Marsh as follows :
 * * *
         The qualification " and subject to the jurisdiction thereof " was probably
intended to exclude the children of foreign ministers and all other persons who may
be within our territory with rights of extraterritoriality . It is indeed possible to read
the language as meaning while or when they are subject to the jurisdiction of the
United States , but this would denationalize all citizens native or naturalized the
moment they entered the foreign jurisdiction .
   In 1871 Mr. Seward , Acting Secretary of State , wrote to Mr. Fish :
  * * * In Speck's case , while it is true that the boy by virtue of his nativity may
claim citizenship of the United States , yet his father continuing to remain a Swiss
citizen , having removed the boy Joseph while a minor without the jurisdiction of the
United States , his status , as well as domicile , according to well - understood principles
of international and municipal law , follows that of the father until the boy attains
his majority . Should he , after reaching the age of 21 years , voluntarily return to the
United States and make it his permanent home , asserting the right of citizenship by
virtue of his nativity , his political status would then be determined according to the
law and the circumstances of the case .

   In 1880 Mr. Evarts , Secretary of State , wrote to Mr. Noyes :
  A child born in the United States to French parents goes in his minority to France ,
and there remains voluntarily after he has become of full age , may be held to have
abjured his American nationality .




                                  Add. 016
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   In 1880 Mr. Evarts , Secretary of State , wrote to Mr. Cramer :
  A person born in the United States has a right , though he has intermediately been
carried abroad by his parents , to elect the United States as his nationality when he
arrives at full age .

   In 1881 Mr. Blaine , Secretary of State , wrote to Mr. O'Neill :
  The child born to an alien in the United    States loses his citizenship   on leaving the
United States and returning to his parent's allegiance .

   In 1882 Mr. Frelinghuysen , Secretary of State , wrote to Mr. O'Neill :
  A child born in this country to a German subject is subject , if he puts himself in
German jurisdiction , to German laws .
   In 1883 he wrote to Mr. Cramer as follows :
  A child born in this country to a foreign father when taken by his father abroad
acquires the father's domicile and nationality .

   Mr. Bayard , Secretary of State , wrote to Mr. Liebmann in 1886 :
   It has been settled by frequent rulings in this department that when a child who
was born in the United States to a father temporarily here residing returns with his
father to the latter's country of native allegiance such child can not , during his
minority and his residence in such country , call on this department to intervene in
his behalf against such country .
   NOTE . But how can this be if he was born a citizen of the United States , and who
had authority to surrender his rights in this particular while a minor ? This is contrary
to the opinion of the Attorneys - General , as hereinafter shown .
   In reference to the case of de Bourry , Mr. Bayard , Secretary of
State , wrote to Mr. Lee in 1886.  It should be stated before quoting
that de Bourry was born in the United States in 1862 , where he
remained with his parents until he was 5 years old , when he and his
mother went to Europe . His father went there also in 1869 , and they
resided in Vienna until 1880 , when the father died , and the mother
and son continued to reside in Austria . The Secretary says :
   Under these circumstances it is necessary for me to consider the question whether
de Bourry was at the time of his birth a citizen of the United States under the natu-
ralization statutes and the fourteenth amendment to the Constitution of the United
States . It is enough to say that he has exhibited no such proof of an election on
arriving at full age of United States citizenship as now entitles him to a passport . An
election in case of dual or doubtful allegiance , which is the utmost which can be
claimed in the present case , must be made on attaining majority or shortly afterwards ,
and must be signified by acts plainly expressive of intention , such as immediate
preparations to return to the elected country .

   This question of citizenship by birth has also been under con-
sideration by international commissions . Thus , under the conven-
tion of 1868 with Mexico , in case No. 716 , Suarez v . Mexico , the
umpire , Thornton , said :
  Nor would the mere fact of his having been born at New York be sufficient evidence
of citizenship . It is clear that his parents were both aliens at the time of his birth ,
and it is not shown that they were naturalized or that they or the child remained in
the United States . The inference is to the contrary , and the umpire believes that the
child in question , even if that child was really the claimant , though born in the
United States , was subject to a foreign power , and can not , without further proof , be
considered to be a citizen of the United States .

   The same umpire in No. 748 , Barco v . Mexico , says :
  With regard to Manuel de Barco , he does not consider that the mere fact of his
birth within the United States is sufficient of itself to give him citizenship of the
United States . It appears that his parents were both foreigners , and that he was
certainly not of age , and was still under the tutelage of his parents when he left the
United States , nor has he since that time taken any steps to acquire United States
citizenship .




                                Add. 017
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  In case No. 958 , of Gauthier v . Mexico , the claimant was born in
Texas of French parents , and when 19 years of age he removed to
Mexico with his mother , then a widow , and they established a com-
mercial house . He at one time presented a claim against Mexico
as a French subject , and received an award of $ 1,000 . The com-
missioners held that-
  As it did not appear that the parent of the claimant was naturalized during their
residence in Texas , it was to be presumed that they retain their French nationality ;
that the claimant , who left the United States before arriving at the age of 21 years ,
was entitled , according to the French code , to retain the nationality transmitted by
his parent ; that the laws of Mexico did not forbid such election ; but that he was not
entitled to renounce his French nationality and elect that of the United States after
he had abandoned the latter country to establish himself in another , and after he had
made a valid act of adoption of French nationality .
   In the case of Lavigne , No.
                              11 , and Bister , No. 20 , under the
United States and Spanish convention of 1871 , the arbitrators say :
   The act of Congress of February 10 , 1855 , which provides that " persons heretofore
born , or hereafter to be born , out of the limits and jurisdiction of the United States ,
whose fathers were , or shall be , at the time of their birth citizens of the
United States , shall be deemed and considered and are hereby declared to be citizens
of the United States , " can not operate so as to interfere with the allegiance which
such children may owe to the country of their birth while they continue within its
territory .

   In Hall's International Law , page 237 , it is said :
  In the United   States it would seem that the children of foreigners in transient
residence are not citizens , but that children of foreigners who are in more prolonged
residence fall provisionally within the category of American citizens , though they
lose their American character if they leave the United States during their minority .

   In the case of Joseph Fry Mogridge v . The United States , No.
345 , before the American and British Claims Commission of 1871 ,
the memorial alleged the claimant to have been born in Pennsylvania
of native parents , British subjects , never domiciled within the
United States , but on a visit there at the time of his birth , and
who returned to England within a few weeks thereafter , where the
claimant remained during his minority . He was domiciled in the
United States at the time of the alleged injuries . His claim was
dismissed , apparently on the ground that he was a citizen of the
United States .
   In the case of Alexander v. The United States , No. 45 , before
the same commission , it appears the claimant was born in Kentucky .
Commissioner Frazer in his opinion says :
  The testator was by British law a British subject , but he was also , by the law of the
United States , an American citizen by reason of his birth in Kentucky ; and he was
not capable of divesting himself of his American nationality by mere volition and
residence from time to time in Scotland and holding office there .
   Being then a subject of both governments , was he a British subject within the
meaning of the treaty ? The practice of nations in such cases is believed to be by
their sovereign to leave the person who has embarrassed himself by assuming a double
allegiance to the protection which he may find provided for him by the municipal
laws of that other sovereign to whom he thus also owes allegiance .
   The British minister , Mr. Gurney , dissented in this case . With
reference to the point above suggested , of divesting American nation-
ality of a child by residence elsewhere , it is said ( 15 Ops . Att'y Gen. ,
p . 15 ) that-
  Though a father , once a foreigner , but naturalized in the United States , returns to
his native country and resumes his nationality , his child , born in the United States ,




                                 Add. 018
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and who returns with his father to his native land , does not lose his American nation-
ality , but that on attaining his majority he has a right of election .

   And with reference to that part of Mr. Frazer's opinion , as to the
claimant being a subject of both Governments and the consequences ,
it is said ( 13 Ops . Att'y Gen . , . 89 ) :
  On general principles such conflicting citizenship is decided according to the laws
of the one of the two countries claiming allegiance , within whose jurisdiction the
individual happens to be .
   It will be observed , therefore , that our statutes which declare ( 1 )
that all persons born in the United States and subject to the jurisdiction
thereof , and (2 ) all persons born out of the United States of parents
who are citizens , are citizens of the United States , reach out into the
domain of other countries , for if they should also declare to the same
effect , we would have many conflicts and many cases of double
allegiance . While , therefore , our statutes may be given full force
and effect in our internal affairs and administration , yet , when it
comes to dealing with other nations , these broad claims must yield
to the principles of international law . The last two cases referred
to above are illustrations of this conflict and of the method of dis-
posing of the same .
   The Spanish Treaty Claims Commission seems to have taken the
position that under the fourteenth amendment to the Constitution ,
as expounded in the Wong Kim Ark case , supra , there is no longer
any room to question that every person born in the United States is
an American citizen , as its rulings have been along that line ; but that
doctrine in its absolutism is one which the government of the United
States does not and can not take and maintain .
   The United States has upon its statute books a counter proposition
which reads as follows :
   SEC . 1993. All children heretofore born or hereafter born out of the limits and
jurisdiction   of the United States , whose fathers were or may be at the time of their
birth citizens thereof , are declared to be citizens of the United   States .

    Here we assert a right which by the fourteenth amendment , as
construed , we deny to other Governments , and it needs no argument
to show that we can not maintain both propositions .           we claim         If
that children born abroad to American citizen parents are American
citizens (we do so claim and maintain , and this is the more important
of the two ) , then we must concede the same right to other nations ,
and we must abandon so much of the fourteenth amendment as by
construction may be held to undertake to make an American citizen
out of children born to foreign parents on American soil , and in
actual practice the government of the United States so admits .
   The truth is that it has never been held , and it is very doubtful
whether it will ever be held , that the mere act of birth of a child on
American soil , to parents who are accidentally or temporarily in the
United States , operates to invest such child with all the rights of
American citizenship . It was not so held in the Wong Kim Ark case .
No such question was involved or decided , and whatever is said on
that subject in that case (and there is a good deal ) , is mere dictum .
The summary of the case on its facts , set forth in the last two pages
of the opinion of the court , shows exactly what was the issue , and
that such a broad question was not in any sense involved in the case .
The Chinese child in that case , born in the United States , showed




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that both he and his parents had resided in the United States con-
tinuously from his birth until after his majority , except that he had
made two temporary visits to China , which it was conceded were
temporary and with the intention of returning to the United States
as his permanent residence . At the time of his birth his parents were
not temporary sojourners in the United States , but were domiciled
and engaged permanently in business there .
    It follows therefore that the question of what is meant by the
clause in the fourteenth amendment reading " and subject to the
jurisdiction thereof " is yet open , and as already said , it is exceed-
ingly doubtful , to say the least , whether the courts will ever hold
that the accidental birth within the territory of the United States
instantly invests the child with all the rights of an American citizen ,
regardless of its future movements and those of its parents . If such
a child should be possessed of a very considerable estate , and should
be at once taken by its parents to their own country , we think the
United States would have a very difficult time collecting an income
tax or enforcing any other rights as against this child or its estate .
    We avoid this , to our minds , untenable position by taking the
ground that such a child has a right of election , and on attaining
its majority it may elect the nationality of either government ,
which election the child may make by remaining permanently in
 the one country , or removing to the other on attaining majority
 and there abiding and performing the duties of citizenship .
    This seems a very simple solution , but it leads to many compli-
 cations not regulated by law , and for the determination of which
there is no satisfactory guide . Among these are : ( 1 ) What acts are
 sufficient to amount to an election ; ( 2 ) when and how must that
 election be made ; ( 3 ) within what period , after attaining majority ,
 must it be done ; (4 ) in case a child desires to elect the nationality
 of the government other than the one within whose jurisdiction he
 is residing , is it possible for him to make such an election without
 bodily removal to such elected country ; and (5 ) should any such
 election be permitted unless made under oath , and by having the
 same entered upon the records of some proper court , competent to
 naturalize aliens ? The situation is such as to call for prompt and
 careful legislative action .
    Finally , on this point , it would seem that when the courts are
 compelled to construe this clause , " and subject to the jurisdiction
 thereof , " it is to be hoped that they will take the very simple and rea-
 sonable position that it does not mean that jurisdiction to which
 the bodily form of the child is subject from the moment of
                                                                    its




                                                                       birth
                                                                               ,




            the right
        as




                      to



                                 to




 such                      live      be protected from harm and the like
                            ,




                                                           ,




                                                                              is ,




 but that larger jurisdiction which though difficult
                                                               to




                                                                  define
                                  ,




                                       ,




                                                                          ,




 well known and understood the difference between the jurisdiction
                                 ,




 which       exercised over     visitor and that over one domiciled which
        is




                           a




                                                                    ,




 difference may be seen                       The former was certainly not
                            at




                                    glance
                                 a



                                      .




     the legislative mind when dealing with such grave and important
in




 rights
                           .-
        .




        By naturalization           Naturalization    the act by which the
                                                 is
   2.




                            (b
                                )




 Government formally admits into its community persons formerly
 owing allegiance         another country investing them with all the
                     to




                                          ,




 rights and privileges and imposing upon them all the duties and
  obligations      full membership therein
               of




                                          .




                                Add. 020
      THE CONGRESSIONAL GLOBE :

:                          CONTAINING




    THE DEBATES AND PROCEEDINGS

                               OF




                THE FIRST SESSION


                               OF




       THE THIRTY - NINTH CONGRESS .




                      BY F. & J. RIVES .




                  CITY OF WASHINGTON :
          PRINTED AT THE CONGRESSIONAL GLOBE OFFICE .
                            1866 .




                            Add. 021
1866 .                                                               THE CONGRESSIONAL                                                                GLOBE .                                                                                            2769




                                                                                                                                                                                                                                                to
 there may be danger that when party spirit                                  and the white population , and it makes several                                             the United States          They ought        be there




                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                             .
 runs high , it may receive a very different con-                            other discriminations ; and therefore it is , and                                           along with your public debt            think no gen-




                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                  .
 struction from that which we would now put                                  will be at all times , perfectly easy and practi-                                           tleman will deny that            very essential that




                                                                                                                                                                                                                              is
                                                                                                                                                                                                                       it
 upon it .       Ifind that gentlemen doubt upon                             cable to ascertain exactly how much of the                                                                                                  placed




                                                                                                                                                                                                                                                     be
                                                                                                                                                                         the debt incurred        this war should




                                                                                                                                                                                                               in
                                 I
 that subject , and think it is very easy now to                             population of a State shall be counted in the                                               under the protection




                                                                                                                                                                                                                                                              of
                                                                                                                                                                                                                      of
                                                                                                                                                                                                      the Constitution        the
 solve that doubt and put the question beyond                                basis of representation under my amendment .                                                 United States especially when we are now




                                                                                                                                                                                                     ,
 all cavil for the present and for the future .                              Under the other proposition , it seems to me ,                                              prosecuting        doubtful war with your Execu-




                                                                                                                                                                                                   a
    In the first clause of the amendment which                               you must have a census commission all the




                                                                                                                                                                                       to
                                                                                                                                                                                  as
                                                                                                                                                                                     whether open and hostile rebels shall
I   have submitted , I strike out the word        citi-                      time in operation in order to keep pace with
                                                                                                                                                                         tive
                                                                                                                                                                         not have seats in Congress        If they are admit-




                                                                                                                                                                                                                              .
 zens , " and require the States to give equal                               the variations that will take place from time to




                                                                                                                                                                                          to
                                                                                                                                                                         ted here      act with their sympathizers            the




                                                                                                                                                                                                                                                              at
 rights and protection of person and property to                             time .                                                                                      North who have constantly opposed every




                                                                                                                                                                                  ,
 all persons born in the United States or natu-                                                                   you ascertain the                                      policy that looked




                                                                                                                                                                                                                                                         of
                                                                                Under this amendment                                                                                               the remuneration




                                                                                                                                                                                                               to
                                                                                                                                                                                                                           those
ralized under the laws thereof . That seems to                               classes of the population , and when any dis-                                               engaged       the war on our part who have been




                                                                                                                                                                                          to in




                                                                                                                                                                                                                                       ,
me to put the question beyond all doubt .                                    crimination shall be made upon any of these                                                 opposed         every war measure         who voted




                                                                                                                                                                                                                                            ,
    The Senator from Maine suggests to me ,                                  subjects the whole of that particular class will                                            against paying your Army                         doing




                                                                                                                                                                                                                                                         or
                                                                                                                                                                                                                                  in
                                                                                                                                                                                                           the field




                                                                                                                                                                                                                                                    ,
in an undertone , that persons may be born in                                be excluded . There is only one question to                                                 anything       defend the country what will be




                                                                                                                                                                                            ? to
                                                                                                           If




                                                                                                                                                                                                                                           ,
the United States and yet not be citizens of                                 be determined .            the exclusion is because                                         the result       Under the dictation of such




                                                                                                                                                                                                                                                                      a
the United States . Most assuredly they would                                of race or color , the question is what amount                                              policy should         prevail who can guaranty




                                                                                                                                                                                                        ofit
                                                                                                                                                                                  ,




                                                                                                                                                                                                                             ,
                                                                                                                                                                                              the Government will          paid




                                                                                                                                                                                                                                                     I of be
be citizens of the United States unless they                                 of colored population is there in the State ,                                               that the debts




                                                                                                                                                                                                                                                                      ,
went to another country and expatriated them-                                and in exactly that proportion she is to lose                                               or that your soldiers and the widows               your
 selves , if they could do so by being adopted in                            representation .              If
                                                                                                       any class is deprived of the                                      soldiers will not lose their pensions             hope




                                                                                                                                                                                                                                                   ?
that other country by some process of natural-                               privilege of voting there should certainly be                                               that whether my amendment




                                                                                                                                                                                                                                                                      or
                                                                                                                                                                                                              be adopted
                         I
ization that know nothing about ; for I be-
                                                  -                          some restriction on the representation of the                                               not any amendment to the Constitution which




                                                                                                                                                                             ,
                                                                             State which excludes them . In that particu-
                             -
 lieve the countries of Europe certainly it is                                                                                                                            shall finally prevail will contain        clause like




                                                                                                                                                                                                                                               a
 so in England        have always held that a per-                           lar I think my amendment is a great improve-                                                this




                                                                                                                                                                              .
 son born within the realm cannot expatriate                                 ment on the provision reported by the com-                                                     Mr. President        have stated    nearly   all the




                                                                                                                                                                                                         I
                                                                                                                                                                                                         ,
 himself and become a citizen of any other                                   mittee . My amendment is such that a calcu-                                                 differences    between my amendment           and the
 country or owe allegiance to any other coun-                                lation can very easily be made of what the                                                  proposition                             have   left out




                                                                                                                                                                                                   of




                                                                                                                                                                                                                                       I
                                                                                                                                                                                           the committee
       I                                                                                                                                                  I




                                                                                                                                                                                                                                   .
 try .     think , then , the first section of my                            restriction of representation is under it.                                                      the amendment the third section of the res-




                                                                                                                                                                         of
                                                                                                                                   have
 amendment covers the whole ground .                                         not myself calculated it ; but we know that                                                                                              Michigan




                                                                                                                                                                                                             as
                                                                                                                                                                         olution because         the Senator from




                                                                                                                                                                                   ,
    Mr. FESSENDEN . Suppose a person is                                      some of the States would lose more than half                                                has said     does not seem to me to amount to




                                                                                                                                                                                         it
born here of parents from abroad temporarily                                                                                                                             much      Practically      do not believe        would




                                                                                                                                                                                                                                                        it
                                                                             their representation ; South Carolina would ,




                                                                                                                                                                                                               I
                                                                                                                                                                                 .
in this country.                                                             and I think Mississippi would , and some other                                              have any effect         am for excluding those who




                                                                                                                                                                                                         I
                                                                                                                                                                                                     .
     Mr. WADE . The Senator says a person may                                of the States would lose largely if they ex-                                                took any leading part




                                                                                                                                                                                                                             in
                                                                                                                                                                                                         the rebellion from
be born here and not be a citizen .         know that  I                     cluded their colored population from voting ;                                                exercising any political power here




                                                                                                                                                                                                                                                         or
                                                                                                                                                                                                                            else-
                                                                                   I
                                                                             and think they ought to be restricted in the




                                                                                                                                                                                                                                            as
is so in one instance , in the case of the children                                                                                                                       where now and forever           but      that clause




                                                                                                                                                                                                                             ;
 of foreign ministers who reside " near " the Uni -                          proportion that the excluded portion bear to




                                                                                                                                                                                                         to
                                                                                                                                                                          does not seem        effect that purpose     and will




                                                                                                                                                                                                                                                    ,
ted States , in the diplomatic language . By a fic                                                                                                                       probably effect nothing          all




                                                                                                                                                                                                                              at
                                                                             the whole .                                                                                                                         do not think




                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                       ,
                                                                                    the next place my amendment prohibits
                                                                                In




tion of law such persons are not supposed to be                                                                                                     any consequence that




                                                                                                                                                                         in of
                                                                                                                                                                            is
                                                                                                                                                                                    should have




                                                                                                                                                                            it




                                                                                                                                                                                                                                       it




                                                                                                                                                                                                                                                                      a
                                                                                                            ,




 residing here , and under that fiction of law their                         and renders null and void all obligations                    place                              hope another clause



                                                                                                                                                                   in
                                                                                                                                                     the measure




                                                                                                                                                                                                                      I
                                                                                                                                                                   -




                                                                                                                                                                                                                  .
 children would not be citizens of the United                                curred       rebellion and insurrection        against  the will be     placed             by  the amendment sug-
                                                                                         in




                                                                                                                                                               there
 States , although born in Washington .          agree      I                United States or for the purpose of aiding re-               gested by the Senator from New Hampshire




                                                                                                                                                                                                                                                                      .
to that , but my answer to the suggestion is that                                                                      that particular                  very glad




                                                                                                                                                                                        be
                                                                                            or




                                                                             bellion       insurrection and                                  shall                       see that adopted either
                                                                                                                                      in




                                                                                                                                                                                                                  if to to
                                                                                                                                                                         I
                                                                                                                    ;




that is a simple matter , for it could hardly be                                   precisely the same             the corresponding                                        my proposition




                                                                                                                                                                                                                                                              if
                                                                                                                                                                          as
                                                                                                                                               an amendment
                                                                                                                           as




                                                                                                                                                                                                                                                                      it
                                                                             is
                                                                             it




                                                                                                                                                                                                                                                         ,
applicable to more than two orthree or four per-                                            the original proposition which was             should prevail




                                                                                                                                                                                                            or
                                                                                            of




                                                                                                                                                                                                                                   as
                                                                             section                                                                                     not       an amendment




                                                                                                                                                                                                     ,

                                                                                                                                                                                                            ,



                                                                                                                                                                                                                              ,
 sons ; and it would be best not to alter the law                                 eloquently defended and enforced by the to the original proposition
                                                                             so




                             I
                        will let it come under that




                                                                                                                                                                                                                                  .
for that case .                                                              Senator from        Michigan          agree  with all that         have seen other          suggested
                                                                                                                                                                         I            amendments
                                                                                                                          I
                                                                                                                     .




well -known maxim of the law , de minimis lex                                he said on that subject and the proposition                  which should like             have prevail The Sen-




                                                                                                                                                                                                                    to
                                                                                                                          ,




                                                                                                                                                                                   I




                                                                                                                                                                                                                                                .
non curat. It would make no difference in the                                reported by his committee and the one                 have   ator from Nevada Mr. STEWART has submit-
             I
                                                                                                                                                       I




                                                                                                                                                                                                               [




                                                                                                                                                                                                                                             ]
result .      think it better to put this question                                                                                   but ted proposition which                  my judgment




                                                                                                                                                                                                                                                                      of
                                                                                                                              to in




                                                                                                                                                                                                                              in
                                                                             submitted are the same                 that respect




                                                                                                                                                                                                                                                                 is
                                                                                                                                                                               a
                                                                                                                                                          ;




 beyond all doubt and all cavil by a very sim-                               then   my   amendment       goes      another branch of the most important and essential character




                                                                                                                                                                                                                                                                      .
 ple process , such as is the language of the first                                                                                       Could my voice and my vote prevail                     give
                                                                                                                as




                                                                                                                                           as




                                                                             this business almost                                   puts
                                                                                                                                                          It




                                                                                                                                                                                                                                                         to
 section of the amendment I have offered .                               I                                  essential     that
                                                                                                                                                      .




                                                                                                          the civil war on our part efficacy             his proposition he should not fail
                                                                                                                                                                                          . to



                                                                             the debt incurred
                                                                                                               in




                                                                                                                                                                                                                              ,
 do not know that the corresponding section re-                              under the guardianship                                                          am for suffrage         our friends




                                                                                                                                                                                                                                                                      in
                                                                                                                          of




                                                                                                                 the Constitution of




                                                                                                                                                                                                                                        to
                                                                                                                                                                         to




                                                                                                                                              have
                                                                                                                                                                                        , it
                                                                                                                                                                                             I

ported by the committee would leave the matter                                                                                            the South the men who have stood by us in
                                                                                                                so




                                                                             the United States              that     Congress cannot
                                                                                                                                 to a
                                                                                                           ,




 very doubtful ; but that which I have proposed
                                                                                                                                           do




                                                                             repudiate            believe that           this will give   this rebellion the men who have hazarded
                                                                                              it




                                                                                                                                                                                                   ,
                                                                                                 I
                                                                                              .




is beyond all doubt and all cavil now and here-                                                          capitalists and will be of their lives and all that they hold dear
                                                                                                            to




                                                                                                                                                                                                                                                     to
                                                                             great confidence                                                                                                  defend
 after , and it is as easy to adopt it as it is the                          incalculable      pecuniary                   the  United    our country           think our friends the colored
                                                                                                                                            to




                                                                                                              benefit
                                                                                                                                                                                                   I




                                                                                                                                                                                                                                             ,
 other . I regard it as an improvement , and
                                                                                                                                                                                             .




                                                                             States for have no doubt that every man who                  people
                                                                                                                                                                                        of




                                                                                                                                                        the South should not be excluded
                 I
                                                                                     ,




                                                                                                                                                                                                                  ,
                                                                                              I




                                                                                                                                                                                                                                                                      be .
 therefore think it ought to be adopted .                                    has property          the public funds will feel safer       from the right
                                                                                                                                                                                                        of




                                                                                                                                                                 voting and they shall not
                                                                                                      in




                                                                                                                                                                                                                         ,




    The second section is in regard to the ap-                               when he sees that the national debt                   with-      my vote and the votes of
                                                                                                                                                                         if
                                                                                                                                                       to is




                                                                                                                                                                                   sufficient num-
                                                                                                                                                                                                                                   a



 portionment of representation ; and here I like                             drawn from the power
                                                                                                                          of




                                                                                                                                                                                                                                  in



                                                                                                                    Congress      repu- ber who agree with me                   Congress shall be
                                                                                                                               a




 the provision I have proposed better than the                                          and placed under the guardianship                           carry                                this partic-
                                                                                                                                                                   of



                                                                                                                                                                                  to




                                                                             diate                                                                                   do not agree
                                                                                                                                                                                                                                               in

                                                                                                                                          able
                                                                                                                                                                                                     it
                                                                                       it




                                                                                                                                                                                                           I
                                                                                                                                                                                                     .




 corresponding one of the committee . There                                  the Constitution than he would feel                          ular with the Senator from Michigan
                                                                                                                                                  if
                                                                                                                                                       it




                                                                                                                                   were                                                            He                                                    .
 is no doubt or cavil about it ; and it contains                                                                           the varying yields         the provision
                                                                                                                                            to




                                                                                                                                                                                     to




                                                                             left      loose ends and subject                                                                the committee's res-
                                                                                                                                                                                                                             in
                                                                                   at




                                      I
 some elements which think make it entirely                                  majorities which may arise              Congress       con- olution on the subject reluctantly because he
                                                                                                                                 in




                                                                                                                                                      I




                                                                                                                                                                                                                                             of ,
                                                                                                                                                      .




 preferable to the other proposition . There                                 sider that very beneficial provision which                   does not believe three fourths                  the States
                                                                                                                                                                    is
                                                                                              a




                                                                                                                                                  ,




                                                                                      the original proposition                            can be got         ratify that proposition which
                                                                                   in




 are some reasons , and many believe there are
                                                                                                                                                                                                 to




                                                                             not
                                                                                                                                                                                                                                                                      is is
                                                                                                                                      .




 good reasons , for restricting universal suffrage ,                                                 my amendment goes further             right and just                     My own opinion
                                                                                                                                                                                                         in
                                                                                                       of




                                                                                This section                                                                       itself
                                                                                                                                                                   ,




                                                                                                                                                                                                                         .




                                                                                                                                                   you go down            the very foundation of
                                                                                                                                                                                                                    to




 and upon such principles as not to justify the                              and secures the pensioners              the country We that
                                                                                                                                 of




                                                                                                                                                                                   if
                                                                                                                                                          .




                                                                                                              protect those wounded       justice         far from weakening yourself with
                                                                                                                                                                                          so
                                                                                       to




 inflicting of a punishment or penalty upon a                                ought      do something
                                                                                                                     to




                                                                                                                                                                                 ,




                                      suffrage . It is
                                                                                                                                                                                                   ; .yo




 State which adopts restricted                                               patriots who have been stricken down                    the the people              will strengthen yourself im-
                                                                                                                                                          in




                                                                                                                                                                                             ,




 already done in some of the New England                                                                              put the security mensely by
                                                                 I                        their country and                                                                                   not the
                                                                                       of




                                                                                                                                                                                                  it




                                                                                                                                                                but     know that
         -
                                                                                                                                  to




                                                                                                                                                                                                                                                is
                                                                                                                                                                                                                                                it




                                                                             cause
                                                                                                                                                                                                               I
                                                                                                                  ,




  States    in Massachusetts , for instance .      be-                           their pensions and their means                support opinion           many here and           suppose we must
                                                                              of




                                                                                                                                                  of




                                                                                                                                                                                          of




                                                                                                                                                                                                                    ,


                                                                                                                                                                                                                                  I




 lieve the constitution of that State restricts                                                                                                                                the will of major-
                                                                                                                                                                                                                              to




                                                                             beyond the power
                                                                                                                . at of




                                                                                                                                                                   in




                                                                                                             wavering majorities          accommodate         ourselves
 the right of suffrage to persons who can read                                                                                        beities and we cannot do all we would
                                                                                                                                                                                                                                                                      do




                                                                             Congress       who may         some time perhaps
                                                                                                                                                                                             if
                                                                                            ,




                                                                                                                                           ,




                                                                                                                                                               ,




                                                                                                                                                                               ,




                                                                                                                                                                                                                                                              ,




 the Constitution of the United States and write                             hostile to the soldier            In the condition of all we can                 propose for myself
                                                                                                                                                                                                                                                    to




                                                                                                                                                                                             contend
                             I
                                                                                                                                                                                           .

                                                                                                                                                                                                 I
                                                                                                                                                                                  all
                                                                                                                                      no




 their names .         am not prepared to say that                           things around                                                                             the right direction and
                                                                                                                                                                                                               in
                                                                                                       us




                                                                                                     we have          great guarantee     for          can get
                                                                                                                                                                                                                                                          us ,
                                                                                                                                                                                    to I
                                                                                                                                                                                             is go




 that is not a wise restriction . At all events , a                          now that rebels will not ere long be                 these finally             with those who will give
                                                                                                                                                       in




                                                                                                                                                                                                  any-
 State has the right to try that experiment ; but                             Halls deadly hostile             everything that shall      thing that beneficial             That      my doctrine
                                                                                                                                                                                                                                           is
                                                                                                                     to




                                                                                                                                                                                                                                                                      .
                                                                                   ,




                                                                                                                                                                                                                     .




 if she tries it , under the report of the committee
                                                                                                                                                 as




                                                                             benefit the soldier who was used                an instru-      wish and        hope that on due reflection the
                                                                                                                                                                        I


                                                                                                                                                                                             I




 she must lose , in the proportion that she has                                         their downfall and their conquest Let Senate will adopt the amendment of the Sen-
                                                                                       in




                                                                             ment
                                                                                                                                                          .




 such persons among her inhabitants , her repre-                             the policy which                             be that now ator from Nevada                   least as an alternative
                                                                                                                                                                                                                    at




                                                                                                       understand
                                                                                                                                           to




                                                                                                                                                                                                              ,
                                                                                                       I




                                         I                                   prevailing                                                   to some of these propositions leaving the
                                                                                                                                      of




                                                                                                                                                                   be




sentation in Congress . do not think that ought                                                 the other end          the avenue
                                                                                                 at




                                                                                                                                                                                                                                           I if ,




to be so .           I                                                                                                                                 take his proposition             they will in
                                                                                                                                                                                       to




              think we should leave the subject                              adopted and we have no security and no guar-                 States
                                                                                        ,




                                                                                                                                                                                 of




                                                                                                              your dead soldier who lieu
                                                                                                                                                                                                                         to
                                                                                                                    of




                                                                                                                                                   the one we give                       should like
                                                           fit




open to the States to act as they see      about                             antee that the widow                                                                           them
                                                                                                                                                          ,




                                                                                                                                                                                                                                       .




       think my amendment                                                                                                                     see even that for believe           they   would take
                                                                                                               of




                                                                                                           his country will not be
                                                                                     in
                                               in




                                                                                                                                                                         to




                                  this respect                               died       the cause
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tion of the committee      The entire population                              support                               put the pensions give them
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census always discriminates between the black                                under the guardianship              the Constitution of not finding fault with the doings of the com-
       39TH CONG                     1ST     SESS.No. 174
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